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                        EXHIBIT B
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                                                                      Execution Version




                      THE ENTITIES LISTED ON EXHIBIT “A” HERETO

                                   AS THE INVESTORS



                                         - AND -



                                 TACORA RESOURCES INC.

                                    AS THE COMPANY




________________________________________________________________________________

                           SUBSCRIPTION AGREEMENT
________________________________________________________________________________




                                   DATED July 21, 2024




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                                   SUBSCRIPTION AGREEMENT

This Subscription Agreement is executed on July 21, 2024, is made among:

               THE ENTITIES LISTED ON EXHIBIT “A” HERETO

               (hereinafter, collectively, the “Investors” and individually, an “Investor”)

               -and-

               TACORA RESOURCES INC., a corporation incorporated under the laws of Ontario

               (hereinafter, the “Company”)

RECITALS:

WHEREAS the Company is a private company, with a registered head office in Toronto, Ontario, and
whose business mainly consists of operating an iron ore mine commonly known as the “Scully Mine”,
located near Wabush, Newfoundland and Labrador, Canada;

WHEREAS the Company commenced proceedings (the “CCAA Proceedings”) under the
Companies’ Creditors Arrangement Act (Canada) (the “CCAA”) and obtained an initial order from the
Ontario Superior Court of Justice (Commercial List) (the “Court”) on October 10, 2023 (which was
amended and restated on October 30, 2023);

WHEREAS the Company obtained an order (the “Sale Process Order”) from the Court on June 5,
2024, authorizing the Company to undertake a sale process (the “Sale Process”) to solicit offers or
proposals for a sale transaction in respect of the Company and authorizing and directing the Company
and Greenhill & Co. Canada Ltd. (the “Tacora Financial Advisor”) to implement the Sale Process
pursuant to the terms thereof;

WHEREAS each of the Investors is an existing debtholder of the Company, with the outstanding
amounts of obligations owing by the Company to each Investor as forth in Schedule “A”;

WHEREAS in connection with the Sale Process, the Investors entered into a support agreement dated
June 22, 2024 (as amended from time to time, and including all schedules thereto, the “Restructuring
Support Agreement”), whereby such Investors have agreed to the principal aspects of a series of
transactions involving the restructuring of the Company, as modified by this Agreement, under which
it is contemplated that the Investors, among other things, shall acquire all the equity interests of the
Company;

WHEREAS the Company has, in consultation with the Tacora Financial Advisor and the Monitor,
designated the Qualified Bid (defined in the Sale Process) submitted by the Investors as the
Successful Bid (defined in the Sale Process), and the Parties desire to consummate the Transactions
on the terms and subject to the conditions contained in this Agreement;

WHEREAS the Investors have agreed to subscribe for and purchase from the Company, the
Subscribed Shares, and the Company has agreed to issue the Unsecured Takeback Notes and the
New Warrants to the Investors (excluding Cargill) who are also Existing Noteholders, in each case on
the terms and conditions set out in this Agreement and in accordance with the Closing Sequence set
out herein;




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NOW THEREFORE in consideration of the covenants and mutual promises set forth in this Agreement
(including the recitals hereof) and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties hereby agree as follows:

                                             ARTICLE 1
                                          INTERPRETATION

1.1        Definitions

In this Agreement.

“Action” means any claim, counterclaim, application, action, suit, cause of action, Order, charge,
indictment, prosecution, demand, complaint, grievance, lawsuit, arbitration, inquiry, audit, notice of
violation, proceeding, litigation, citation, summons, subpoena or investigation of any nature, civil,
criminal, administrative, regulatory or otherwise, whether at Law or in equity and by or before a
Governmental Entity.

“Administration Charge” has the meaning given to it in the Initial Order.

“Administrative Expense Costs” means (i) the reasonable and documented fees and costs of the
Monitor and its professional advisors and the professional advisors of ResidualCo in each case for
services performed prior to and after the Closing Date, in each case, relating directly or indirectly to
the CCAA Proceedings or this Agreement, including without limitation, costs required to wind down
and/or dissolve and/or bankrupt ResidualCo and costs and expenses required to administer the
Excluded Assets, Excluded Contracts, Excluded Liabilities and ResidualCo; (ii) amounts owing in
respect of obligations secured by the CCAA Charges that rank ahead of the DIP Charge and are not
paid or assumed on Closing, which shall be paid exclusively from the Administrative Expense Reserve;
and (iii) costs related to a premium for a run-off policy on such terms (including, for certainty, the
amount of the premium), as agreed to by the Investors and the Company, each acting reasonably.

“Administrative Expense Reserve” means such amount to be agreed to by the Investors, the
Company and the Monitor on or before July 26, 2024 (or such other date as agreed to by the Investors,
the Company and the Monitor), to be paid to the Monitor on the Closing Date out of the New Equity
Offering Initial Cash Consideration and held in trust by the Monitor for the benefit of Persons entitled
to be paid the Administrative Expense Costs.

“Affiliate” means, with respect to any Person, any other Person who directly or indirectly controls, is
controlled by, or is under direct or indirect common control with, such Person, and includes any Person
in like relation to an Affiliate. A Person shall be deemed to “control” another Person if such Person
possesses, directly or indirectly, the power to direct or cause the direction of the management and
policies of such other Person, whether through the ownership of voting securities, by contract or
otherwise; and the term “controlled” shall have a similar meaning.

“Agreement” means this subscription agreement and all attachments, Schedules and Exhibits, in each
case as the same may be supplemented, amended, restated or replaced from time to time.

 “APF” means the Amended and Restated Advance Payment Facility dated May 29, 2023, entered
into between the Company and Cargill, as amended and/or restated from time to time.

“Applicable Law” means, with respect to any Person, property, transaction, event or other matter,
any transnational, foreign or domestic, federal, provincial, territorial, state, local or municipal (or any
subdivision of them) law (including common law and civil law), constitution, treaty, law, statute,
regulation, code, ordinance, principle of common law or equity, rule, by-law (zoning or otherwise),


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Order (including any securities laws or requirements of stock exchanges and any consent decree or
administrative Order) or other requirement having the force of law (“Law”), in each case relating or
applicable to such Person, property, transaction, event or other matter and also includes, where
appropriate, any interpretation of Law (or any part thereof) by any Person having jurisdiction over it,
or charged with its administration or interpretation.

“Approval and Reverse Vesting Order” means an Order issued by the Court in the form and
substance acceptable to the Investors, the Company and the Monitor, each acting reasonably:

     (a) approving this Agreement and the Transactions;

     (b) vesting out of the Company all Excluded Assets, Excluded Contracts, Excluded Liabilities and
         all Claims in respect of any Senior Priority Notes, Senior Secured Notes and the APF (other
         than those satisfied as contemplated pursuant to Section 7.2(c)), and discharging all
         Encumbrances to Be Discharged;

     (c) terminating and cancelling all Existing Equity as well as any agreement, contract, plan,
         indenture, deed, certificate, subscription rights, conversion rights, pre-emptive rights, options
         (including stock option or share purchase or equivalent plans), or other documents or
         instruments governing and/or having been created or granted in connection with the share
         capital of the Company, if any for no consideration (other than the rights of the Investors under
         this Agreement); and

     (d) authorizing and directing the Company to issue:

               (i) the Subscribed Shares to the Investors; and

               (ii) the Unsecured Takeback Notes and the New Warrants,

               in each case, free and clear of any Encumbrances;

     (e) authorizing and directing the Company to file the Articles of Reorganization; and

such additional and/or revised terms as may be agreed to by the Investors, the Company and the
Monitor, each acting reasonably.

“Articles of Reorganization” means articles of reorganization to change the conditions in respect of
the Company’s authorized and issued share capital immediately prior to completion of the
Transactions to provide for a redemption right in favour of the Company or such other provision
acceptable to the Company and the Investors, acting reasonably, that would result in holders of
Existing Common Shares ceasing to hold their Existing Common Shares at the time such articles are
filed and effective in accordance with the Closing Sequence and receiving nil consideration, and, at
the Investors discretion, effect a consolidation of the Existing Common Shares and/or New Common
Shares at a ratio to be determined by the Investors, which shall be in form and substance satisfactory
to the Investors, as confirmed in writing in advance of the filing thereof.

“Assumed Liabilities” means only those Liabilities specifically and expressly designated by the
Investors as assumed Liabilities in Schedule “B”, which includes certain Pre-Filing Trade Amounts,
certain royalty obligations, Post-Filing Trade Amounts and Liabilities under Retained Contracts, in
each case, as specifically set forth in Schedule “B” as such Schedule may be amended, supplemented
or restated by the Investors from time to time up to two Business Days prior to the Closing Date.




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“Authorization” means any authorization, approval, consent, concession, exemption, license, lease,
grant, permit, franchise, right, privilege or no-action letter from any Governmental Entity having
jurisdiction with respect to any specified Person, property, transaction or event, or with respect to any
of such Person’s property or business and affairs (including any zoning approval, mining permit,
development permit or building permit) or from any Person in connection with any easements,
contractual rights or other matters.

“Backstop Commitment Fee” means an amount payable by the Company to the Investors (other
than Cargill) and the Other New Equity Investors that are, in each case, Existing Noteholders, in
respect of their commitments hereunder and under the Other New Equity Subscription Agreements,
equal to $25,000,000 plus the amount equal to the Warrant Cash Consideration payable to the
Investors (other than Cargill) and the Other New Equity Investors that are, in each case, Existing
Noteholders, to be satisfied in accordance with Section 2.6.

“Books and Records” means all books, records, files, papers, books of account and other financial
data related to the Retained Assets and Assumed Liabilities in the possession, custody or control of
the Company, including Tax Returns, sales and advertising materials, sales and purchase data, trade
association files, research and development records, lists of present and former customers and
suppliers, personnel, employment and other records, and all records, data and information stored
electronically, digitally or on computer-related media.

“Business” means the business and operations carried on by the Company as at the date of this
Agreement and as at the date of Closing.

“Business Day” means any day except Saturday, Sunday or any day on which banks are generally
not open for business in each of the Province of Ontario, Canada, the State of New York and the
Republic of Singapore.

“Cargill” means Cargill International Trading Pte. Ltd. and/or Cargill, Incorporated, as the context
provides.

“Cargill Designee” has the meaning set out in Section 2.8.

“Cargill Entity” means any fund or Person associated with, related to or at the discretion or control of
Cargill.

“Cargill Existing Offtake Agreement” means the offtake agreement between Cargill and the
Company dated November 11, 2018, as amended and/or restated from time to time prior to the date
hereof.

“Cargill Margin Facility” means the margin advances agreement to be entered into between Cargill
and the Company effective on the Closing Date substantially on the terms set forth in the Restructuring
Support Agreement and otherwise as agreeable to the Investors and the Company, each acting
reasonably.

“Cargill Offtake Agreement” means the offtake agreement to be entered into between Cargill and the
Company effective on the Closing Date substantially on the terms set forth in the Restructuring Support
Agreement and otherwise as agreeable to the Investors and the Company, each acting reasonably.

“Cargill OPA” means the iron ore onshore purchase agreement to be entered into between Cargill
and the Company effective on the Closing Date substantially on the terms set forth in the Restructuring
Support Agreement and otherwise as agreeable to the Investors and the Company, each acting
reasonably.


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“Cargill Pre-filing Payable” means the amounts owing by Cargill to the Company under the Cargill
Existing Offtake Agreement (approximately $12,500,000) prior to October 10, 2023.

“Cargill Security Agreements” means the security agreements to be entered into by the Company
and any other grantors of security interests party thereto in favour of Cargill (or a collateral agent on
its behalf) on the Closing Date, which will include the terms and conditions as agreed to by Cargill and
the Company, each acting reasonably, and which (i) shall secure obligations under (x) the Cargill
Offtake Agreement and the Cargill OPA in respect of the payment of the Termination Fee under the
Cargill Offtake Agreement (collectively subject to a maximum amount of $25,000,000 plus legal costs);
and (y) the Cargill Margin Facility; and (ii) shall not restrict or inhibit the Company from incurring
additional senior indebtedness (including the New Secured Priority Notes) and related Encumbrances
to fund operations and capital expenditures.

“Cash Consideration” means, collectively, the New Equity Offering Cash Consideration, the
Takeback Note Cash Consideration and the Warrant Cash Consideration.

“CCAA” has the meaning set out in the Recitals.

“CCAA Charges” means the Administration Charge, the Directors’ Charge, the KERP Charge and the
Transaction Fee Charge.

“CCAA Proceedings” has the meaning set out in the Recitals.

“Claims” means all debts, obligations, expenses, costs, damages, losses, Actions, Liabilities,
Encumbrances (other than Permitted Encumbrances), accounts payable, indebtedness, Contracts,
leases, agreements, undertakings, claims, rights and entitlements of any kind or nature whatsoever
(whether direct or indirect, known or unknown, absolute or contingent, accrued or unaccrued,
liquidated or unliquidated, matured or unmatured or due or not yet due, in law or in equity and whether
based in statute or otherwise).

“Closing” means the completion of the Transactions in accordance with the Closing Sequence and
the other provisions of this Agreement.

“Closing Date” means the date on which Closing occurs.

“Closing Deliverables” means all contracts, agreements, certificates and instruments required by this
Agreement to be delivered at or before the Closing in order to effect the Transactions.

“Closing Sequence” has the meaning set out in Section 7.2.

“Closing Time” means the time on the Closing Date at which Closing occurs, as evidenced by the
Monitor’s Certificate.

“Company” has the meaning set out in the Recitals.

“Company Released Parties” has the meaning set out in Section 5.9.

“Conditions Certificates” has the meaning set out in Section 8.4.

“Contracts” means all contracts, agreements, deeds, licenses, leases, obligations, commitments
promises, undertakings, engagements, understandings and arrangements to which the Company is a
party to or by which the Company is bound or under which the Company has, or will have at Closing,
any right or liability or contingent right or liability (in each case, whether written or oral, express or


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implied) relating to the Business, including any Personal Property Leases, any Real Property Leases
and any Contracts in respect of Employees.

“Cost Reimbursement Amount” has the meaning set out in Section 10.3.

“Court” has the meaning set out in the Recitals.

“Defaulting Investor” has the meaning set out in Section 9.1(a)(ix).

“Deposit” means an amount equal to $16,000,000.

“DIP Agreement” means the Second Amended and Restated DIP Facility Term Sheet dated as of
April 21, 2024 between the Company and the DIP Lender, as may be further amended, amended and
restated, supplemented and otherwise modified from time to time.

“DIP Charge” has the meaning given to it in the Initial Order.

“DIP Credit Bid Consideration” has the meaning given to it in Section 6.4.

“DIP Facility” means the credit facility provided by the DIP Lender to the Company as part of the
CCAA Proceedings, as described by the DIP Agreement.

“DIP Lender” means Cargill and/or any other lender under the DIP Facility from time to time.

“DIP Obligations” means (i) all Advances under the DIP Facility, (ii) all Excess Margin Amounts, (iii)
all other principal, interest, fees (including the Exit Fees) due under the DIP Agreement, (iv) the DIP
Lender Expenses, and (v) the Cargill Expenses (each as defined in the DIP Agreement).

“DIP Participation Agreements” means the DIP Facility Participation Agreements between each of
the Initial Noteholder Investors and Cargill dated July 12, 2024 relating to the sale of a portion of the
DIP Obligations from Cargill to the applicable Initial Noteholder Investor.

“Directors’ Charge” has the meaning given to it in the Initial Order.

“Discharged” means, in relation to any Encumbrance against any Person or upon any asset,
undertaking or property, including all proceeds thereof, the full, final, complete and permanent waiver,
release, discharge, cancellation, termination and extinguishment of such Encumbrance against such
Person or upon such asset, undertaking or property and all proceeds thereof.

“Disclosure Letter” means the confidential disclosure letter dated as of the date of this Agreement
and delivered by the Company to the Investors with this Agreement, in form and substance acceptable
to the Investors.

“Eligible Equity Investor” means (i) any Investor or an Other New Equity Investor that is an Existing
Noteholder with New Equity Investor Commitment Amount equal to or greater than $50,000,000; and
(ii) Cargill.

“Employees” means all individuals who, as of Closing Time, are employed by the Company, whether
on a full-time or part-time basis, and whether union or non-union, and including all individuals who are
on an approved and unexpired leave of absence and all individuals who have been placed on
temporary lay-off which has not expired and “Employee” means any one of them.




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“Encumbrances” means all claims, Liabilities (direct, indirect, absolute or contingent), obligations,
prior claims, right of retention, liens, security interests, floating charges, mortgages, pledges,
assignments, conditional sales, warrants, adverse claims, charges, hypothecs, trusts, deemed trusts
(statutory or otherwise), judgments, writs of seizure or execution, notices of sale, contractual rights
(including purchase options, rights of first refusal, rights of first offer or any other pre-emptive
contractual rights), restrictive covenants, easements, servitudes, rights of way, licenses, leases,
encroachments, and all other encumbrances, whether or not they have been registered, published or
filed and whether secured, unsecured or otherwise.

“Encumbrances to Be Discharged” means all Encumbrances on the Retained Assets, including
without limitation the Encumbrances listed in Schedule “C”, as such Schedule may be amended,
supplemented or restated by the Investors from time to time up to two Business Days prior to the
hearing of the motion for the Approval and Reverse Vesting Order (or such other date agreed to by
the Investors and the Company), the Administration Charge, the Directors’ Charge, the KERP Charge,
the Transaction Fee Charge, the DIP Charge, and any other charge granted by the Court in the CCAA
Proceedings, excluding only the Permitted Encumbrances.

“Excluded Assets” means: (i) all rights, covenants, obligations and benefits in favour of ResidualCo
under this Agreement that survive Closing; and (ii) those assets listed in Schedule “D”, as such
Schedule may be amended, supplemented or restated by the Investors from time to time up to two
Business Days prior to the Closing Date.

“Excluded Contracts” means all Contracts that are not Retained Contracts, including those Contracts
listed in Schedule “E”, an amended list of which may be delivered by the Investors no later than two
Business Days before the Closing Date.

“Excluded Liabilities” means all Claims of or against the Company as of immediately prior to the
implementation of the transactions contemplated under Section 7.2(b), other than Assumed Liabilities,
including, inter alia, the non-exhaustive list of those certain Liabilities set forth in Schedule “F” (as such
Schedule may be amended, supplemented or restated by the Investors from time to time up to two
Business Days prior to the Closing Date), all pre-filing Claims, including without limitation, any amounts
owing in respect of Taxes, any and all Claims relating to any change of control provision that may arise
in connection with the change of control contemplated by the Transactions and to which the Company
may be bound as of immediately prior to the implementation of the transactions contemplated under
Section 7.2(b), all Claims relating to or under the Excluded Contracts and Excluded Assets, and
Liabilities for Employees whose employment with the Company or its Affiliates is terminated on or
before Closing and all Liabilities to or in respect of the Company’s Affiliates. Without limiting the
foregoing, Excluded Liabilities includes any Claims that are not Assumed Liabilities.

“Existing Cargill Margin Facility” means the facility consisting of Margin Advances (as defined in the
APF) made available to the Company by Cargill from and after May 29, 2023 under the APF.

“Existing Common Shares” the issued and outstanding common shares in the capital of the
Company immediately prior to the Transactions.

“Existing Equity” means any capital share (including the Existing Common Shares), capital stock,
partnership, membership, joint venture, warrant, option or other ownership or equity interest,
participation or securities (whether convertible, non-convertible, voting or nonvoting, whether
preferred, common or otherwise, and including share appreciation, contingent interest or similar
rights).

“Existing Noteholder” means a Senior Secured Noteholder and/or a Senior Priority Noteholder.



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“Final Order” means, in respect of any Court Order, that such Court Order shall not have been
vacated, set aside, or stayed, and that the time within which an appeal or request for leave to appeal
must be initiated has passed with no appeal or leave to appeal having been initiated.

“Governmental Entity” means any government, regulatory authority, governmental department,
agency, commission, bureau, official, minister, Crown corporation, court, board, tribunal or dispute
settlement panel or other law, rule or regulation-making organization or entity: (i) having or purporting
to have jurisdiction on behalf of any nation, province, territory or state or any other geographic or
political subdivision of any of them, or (ii) exercising, or entitled or purporting to exercise any
administrative, executive, judicial, legislative, policy, regulatory or taxing authority or power.

“Initial Noteholder Investors” means, collectively, Millstreet Capital Management LLC and its
Affiliates and OSP, LLC on behalf of OSP Value Fund III, LP and OSP Value Fund IV, LP and its and
their Affiliates.

“Initial Order” means the Initial Order granted by the Court on October 10, 2023 in the context of the
CCAA Proceedings, as amended and restated on October 30, 2023, and as such Order may be further
amended, restated or varied from time to time.

“Intercreditor Agreement” means an intercreditor agreement between Cargill, the Company and the
trustee under the New Secured Priority Notes Indenture and, if applicable, any collateral agent under
the Security Documents, entered into effective on the Closing Date on terms agreeable to the Investors
and the Company, each acting reasonably.

“Interim Period” means the period from the date of this Agreement until the Closing Time.

“Investment Canada Act” means the Investment Canada Act, R.S.C., 1985, c. 28.

“Investor” and “Investors” have the respective meaning set out in the Recitals.

“Investor Released Parties” has the meaning set out in Section 5.10.

“KERP Charge” has the meaning given to it in the Initial Order.

“Law” has the meaning set out in the definition of “Applicable Law”.

“Liability” means, with respect to any Person, any liability or obligation of such Person of any kind,
character or description, whether known or unknown, absolute or contingent, accrued or unaccrued,
disputed or undisputed, liquidated or unliquidated, secured or unsecured, joint or several, due or to
become due, vested or unvested, executory, determined, determinable or otherwise, and whether or
not the same is required to be accrued on the financial statements of such Person.

“Management Incentive Plan” means a management incentive plan on terms determined by the
board of directors of the Company following the Closing and accepted by the Investors.

“Material Adverse Effect” means any change, effect, event, occurrence, state of facts or development
that has or could reasonably be expected to have a material adverse effect on (i) the business, assets,
liabilities, financial conditions or results of operations of the Company and its Affiliates, collectively, or
(ii) prevents the ability of the Company to perform its obligations under, or to consummate the
Transactions contemplated by, this Agreement, taken as a whole; in each case except to the extent
that any such change, effect, event, occurrence, state of facts or development is attributable to: (a)
general economic or business conditions; (b) Canada, the U.S. or foreign economies, or financial,
banking or securities markets in general, or other general business, banking, financial or economic


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conditions (including (i) any disruption in any of the foregoing markets, (ii) any change in the currency
exchange rates or (iii) any decline or rise in the price of any security, commodity, contract or index);
(c) acts of God or other calamities (including any earthquake, flood, forest fire, or other natural
disaster), national or international political or social conditions, including the engagement and/or
escalation by the U.S. or Canada in hostilities, whether or not pursuant to the declaration of a national
emergency or war, or the occurrence of any military or terrorist attack upon the U.S. or Canada or any
of their territories, possessions or diplomatic or consular offices or upon any military installation,
equipment or personnel of the U.S. or Canada; (d) conditions affecting generally the industry in which
the Company or any of its subsidiaries participates; (e) the public announcement of, entry into or
pendency of, actions required or contemplated by or performance of obligations under, this Agreement
or the Transactions, or the identity of the Parties, including any termination of, reduction in or similar
adverse impact on relationships, contractual or otherwise, with any customers, suppliers, financing
sources, licensors, licensees, distributors, partners, employees or others having relationships with the
Company or any of its subsidiaries; (f) changes in Applicable Law or the interpretation thereof; (g) any
change in applicable accounting standards or other accounting requirements or principles; (h) the
failure of the Company to meet or achieve the results set forth in any internal projections (but not the
underlying facts giving rise to such failure unless such facts are otherwise excluded pursuant to the
clauses contained in this definition); or (i) any change resulting from compliance with the terms of, or
any actions taken (or not taken) by any Party pursuant to or in accordance with, this Agreement;
provided that the exceptions set forth in clauses (a), (b), (c), (d), (f), (g) or (h) shall not apply to the
extent that such event is disproportionately adverse to the Company and its Affiliates, taken as a
whole, as compared to other companies in the industries in which the Company and its Affiliates
operate.

“Material Permits, Mineral Tenures, Licenses and Contracts” means those Permits and Licenses
and Contracts listed in Schedule “G”.

“Mineral Tenures” means the mining claims, leases and other property rights of the Company, all of
which are listed in Schedule “H”.

“Minimum New Equity Allocation” means, in respect of the New Equity Offering, a portion of the
New Equity Investor Commitment Amount no less than:

           (a)   in respect of Millstreet and its Affiliates, $100,000,000; and

           (b)   in respect of OSP and its Affiliates, $60,000,000.

“Mining Rights” means all rights of the Company, whether contractual or otherwise, and whether in
the Permits and Licenses, Mineral Tenures or Real Property Leases, appurtenant to the Owned Real
Property, or otherwise, for the exploration for or exploitation of mineral resources and reserves
together with surface rights, water rights, royalty interests, fee interests, joint venture interests and
other leases, rights of way and enurements related to any such rights, and includes all rights vested
in the Company under the Permits and Licenses, Mineral Tenures, the Real Property Leases and
Owned Real Property.

“Mining Rights Acknowledgement” means an acknowledgement satisfactory to the Parties, acting
reasonably, with approval as required by the Minister of Industry, Energy and Technology of
Newfoundland and Labrador, acknowledging and confirming the Company’s right, title and interest in
and to the Mining Rights located in the Province of Newfoundland and Labrador and, to the extent the
consent or approval of the Minister of Industry, Energy and Technology of Newfoundland and Labrador
is required in connection with the Transactions, that the Mining Rights shall be unaffected by the
Transactions contemplated by this Agreement.



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“Monitor” means FTI Consulting Canada Inc. in its capacity as monitor of the Company in the CCAA
Proceedings, and shall include, as the context so requires, FTI Consulting Canada Inc., in its capacity
as monitor or trustee in bankruptcy of ResidualCo to the extent subsequently appointed as such.

“Monitor’s Certificate” means the certificate, substantially in the form attached as Schedule “A” to
the Approval and Reverse Vesting Order, to be delivered by the Monitor in accordance with
Section 8.4, and thereafter filed by the Monitor with the Court.

“New Common Shares” means the common equity of the Company issued pursuant to the
Transactions.

“New Equity Investor Aggregate Commitment Amount” means the maximum aggregate equity
commitment by Investors other than Cargill and any Other New Equity Investors in connection with
the New Equity Offering, being an aggregate of $200,000,000.

“New Equity Investor Commitment Amount” means in respect of the Investors other than Cargill,
the amounts set forth on Exhibit “A” hereto, subject to adjustment in accordance with Section 2.4, and
in respect of Other New Equity Investors, the amount committed under their respective Other New
Equity Subscription Agreement.

“New Equity Offering” means the offering of an aggregate of $250,000,000 of New Common Shares
by the Company to the Investors and any Other New Equity Investors pursuant to this Agreement and
any Other New Equity Subscription Agreements (subject to dilution from any equity issued in
connection with the Management Incentive Plan and the New Warrants).

“New Equity Offering Additional Cash Consideration” means an amount equal to $250,000,000
less the New Equity Offering Initial Cash Consideration and the New Equity Offering Retained Cash
Consideration, subject to adjustment under Section 2.4(b).

“New Equity Offering Cash Consideration” means, collectively, the New Equity Offering Initial Cash
Consideration, New Equity Offering Retained Cash Consideration and New Equity Offering Additional
Cash Consideration.

“New Equity Offering Initial Cash Consideration” means an amount equal to (i) the DIP Obligations,
(ii) amounts payable on closing under the Existing Cargill Margin Facility; (iii) the Cost Reimbursement
Amount to the extent not waived hereunder; (iv) amounts necessary to fund the Administrative
Expense Reserve; and (v) all advisors’ expenses of the Company and the Monitor (including advisor
and legal counsel fees) that are secured by CCAA Charges that rank ahead of the DIP Charge, and
advisors’ fees and expenses of each Eligible Equity Investors pursuant to the terms of this Agreement,
in each case payable on Closing in accordance with the Closing Sequence, which amounts are, for
greater certainty, intended to be used for the payments set forth in the Closing Sequence and as set
forth in Section 2.3(a).

“New Equity Offering Retained Cash Consideration” means an amount equal to $175,000,000 (or
if the Investors determine that additional cash is required on Closing, such higher amount as
determined by the Investors but not to exceed $250,000,000) less the New Equity Offering Initial Cash
Consideration, subject to adjustment under Section 2.4(b), which amount shall become a Retained
Asset of the Company.

“New Secured Priority Notes” means the secured priority notes in the maximum aggregate principal
amount of $100,000,000 issued pursuant to the New Secured Priority Notes Indenture and up to an
additional $25,000,000 to be issued, if applicable, upon conversion of the Unsecured Takeback Notes
in accordance with the terms of such Unsecured Takeback Notes.


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“New Secured Priority Notes Indenture” means the indenture governing the New Secured Priority
Notes, which shall include the terms and conditions as set forth in the Restructuring Support
Agreement, and such other terms and conditions as agreed to by the Investors and the Company,
each acting reasonably.

“New Secured Priority Notes Offering” means the offering of up to $100,000,000, in aggregate
principal amount of New Secured Priority Notes by the Company.

“New Secured Priority Notes Offering Subscription Agreement” means a subscription agreement
(or agreements) to be entered into by the Company and those Persons subscribing for New Secured
Priority Notes in accordance with the New Secured Priority Notes Offering on terms and conditions
acceptable to the Investors and the Company.

“New Secured Priority Notes Security Agreements” means the security agreements to be entered
into by the Company and any other grantors of security interests party thereto in favour of a collateral
agent on behalf of holders of the New Secured Priority Notes (and any other secured parties, if
applicable) on the Closing Date, which will include the terms and conditions as agreed to by the
Investors and the Company, each acting reasonably.

“New Securities” means the Subscribed Shares, New Warrants and Unsecured Takeback Notes.

“New Warrants” means the warrants to be issued to the Investors (other than Cargill) and Other New
Equity Investors who are Existing Noteholders, as applicable, on Closing, pursuant to the terms hereof
and the Approval and Reverse Vesting Order and pursuant to the New Warrant Certificates.

“New Warrants Certificates” means the certificates representing and governing the New Warrants,
which will include the terms and conditions as set forth in the Restructuring Support Agreement, and
such other terms and conditions as agreed to by the Investors and the Company, each acting
reasonably.

“Order” means any order, directive, judgment, decree, injunction, decision, ruling, award or writ of any
Governmental Entity.

“Organizational Documents” means any trust document, charter, certificate or articles of
incorporation or amalgamation, articles of amendment, articles of association, articles of organization,
articles of continuance, bylaws, as amended, partnership agreement or similar formation or governing
documents of a Person (excluding individuals).

“Other New Equity Investors” means any Person, other than an Investor or any Cargill Designee,
that enters into an Other New Equity Subscription Agreement and that is, in accordance with the terms
of the Restructuring Support Agreement, acceptable to the Investors.

“Other New Equity Subscription Agreement” means a subscription agreement (or agreements) to
be entered into by the Other New Equity Investors and the Company on terms and conditions
acceptable to the Investors and the Company.

“Outside Date” means October 10, 2024, or such other date as the Company (with the consent of the
Monitor) and the Investors may agree to in writing.

“Owned Real Property” means all real property owned by the Company, a complete list of which is
set forth in Schedule “I”.




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“Party” means a party to this Agreement and any reference to a Party includes its successors and
permitted assigns and “Parties” means more than one of them.

“Permits and Licenses” means the permits, licenses, Authorizations, approvals or other evidence of
authority Related to the Business or issued to, granted to, conferred upon, or otherwise created for,
the Company, or other evidence of authority issued to, granted to, conferred upon, or otherwise
created for, the Company which relate to the ownership, maintenance, operation or reclamation of the
Scully Mine, including, without limitation, as listed in Schedule “J”.

“Permitted Encumbrances” means the Encumbrances related to the Retained Assets listed in
Schedule “K”, an amended list of which may be agreed to by the Investors, the Company and Monitor
prior to the granting of the Approval and Reverse Vesting Order.

“Person” is to be broadly interpreted and includes an individual, a corporation, a partnership, a trust,
an unincorporated organization, a Governmental Entity, and the executors, administrators or other
legal representatives of an individual in such capacity.

“Personal Property” means any and all vehicles, equipment, parts, inventory of spare parts, parts
and supplies, mine facilities (including maintenance shops, load out bins, crushers, mills, spirals,
hydro-sizers, dryers, separation units), furniture and any other tangible personal property in which the
Company has a beneficial right, title or interest (including those in possession of suppliers, customers
and other third parties).

“Personal Property Lease” means a lease, equipment lease, financing lease, conditional sales
contract and other similar agreement relating to Personal Property to which the Company is a party or
under which it has rights to use Personal Property.

“Post-Filing Trade Amounts” means any accrued and unpaid amounts owing by the Company to
third parties for leased or financed equipment and for goods and services provided to the Company
by third parties Related to the Business relating to the period from and including October 10, 2023,
that are unpaid as of the Closing (but excluding, for the avoidance of doubt, any amounts secured by
any of the CCAA Charges or any Liabilities owing by the Company in respect of the DIP Facility
(including the DIP Obligations), the Existing Cargill Margin Facility, the APF, the Senior Priority Notes
and the Senior Secured Notes).

“Pre-Closing Reorganization” has the meaning set out in Section 5.11(a).

“Pre-Filing Trade Amounts” means the amounts identified on Schedule “L” as Pre-Filing Trade
Amounts, as such Schedule may be amended, supplemented or restated by the Investors from time
to time up to two Business Days prior to the Closing Date, provided that the aggregate amount of the
Pre-Filing Trade Amounts shall not exceed a maximum amount to be agreed by the Investors, in
consultation with the Company and the Monitor.

“Rail Agreement” means the Confidential Transportation Contract dated 3 November 2017 entered
into between Quebec North Shore and Labrador Railway Company Inc. as carrier and Tacora
Resources Inc. as shipper as amended, amended and restated, supplemented and modified from time
to time.

“Real Property Leases” means all leases, subleases, licenses and other occupancy Contracts with
respect to all real or immovable property (including subsurface mineral rights), and all plants, buildings,
structures, improvements, appurtenances and fixtures (including fixed machinery and fixed
equipment) thereon, forming part thereof or benefiting such real or immovable property Related to the
Business, including those set out under “Real Property Leases” in Schedule “H”.


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“Related to the Business” means primarily (i) used in; (ii) arising from; or (iii) otherwise related to,
the Business or any part thereof.

“Released Claims” means all Claims and Orders, contingent or otherwise, whether liquidated or
unliquidated, matured or unmatured, disputed or undisputed, contractual, legal or equitable, including
loss of value, professional fees, including “claims” as defined in the CCAA and including fees and
disbursements of legal counsel on a full indemnity basis, and all costs incurred in investigating or
pursuing any of the foregoing or any proceeding relating to any of the foregoing.

“Representative” when used with respect to a Person means each director, officer, employee,
consultant, financial adviser, legal counsel, accountant and other agent, adviser or representative of
that Person.

“ResidualCo” means a corporation to be incorporated by the Company in advance of Closing, to which
the Excluded Assets, Excluded Contracts, Excluded Liabilities, Senior Priority Notes and Senior
Secured Notes will be transferred to as part of the Closing Sequence, which shall have no issued and
outstanding shares.

“Restructuring Support Agreement” has the meaning set out in the Recitals.

“Retained Assets” has the meaning set out in Section 3.1(d).

“Retained Contracts” means those Contracts listed in Schedule “M”, as such Schedule may be
amended, supplemented or restated by the Investors from time to time prior to the Closing.

“RVO Outside Date” has the meaning set out in Section 6.1(c).

“Sale Process” has the meaning set out in the Recitals.

“Sale Process Order” has the meaning set out in the Recitals.

“Scully Mine” has the meaning set out in the Recitals.

“Second Tranche New Equity Payment” has the meaning set out in Section 2.5(a).

“Security Agreements” means the Cargill Security Agreements and the New Secured Priority Notes
Security Agreements, as applicable, it being understood and agreed that the Investors may, at their
option, agree to shared security documentation in favour of a collateral agent to be held on behalf of
Cargill, holders of the New Secured Priority Notes and any other secured parties from time to time,
which will include the terms and conditions as agreed to by the Investors and the Company, each
acting reasonably and which shall be subject to the Intercreditor Agreement.

“Senior Priority Noteholders” means the holders of the Senior Priority Notes.

“Senior Priority Notes” means the 9.00% Cash / 4.00% notes due 2023 issued by the Company
pursuant to the Senior Priority Notes Indenture.

“Senior Priority Notes Indenture” means the second supplemental indenture dated May 11, 2023
between the Company and Trustee, as amended and/or restated from time to time.

“Senior Secured Noteholders” means the holders of the Senior Secured Notes.




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“Senior Secured Notes” means the 8.250% notes due 2023 issued by the Company pursuant to the
Senior Secured Notes Indenture.

“Senior Secured Notes Indenture” means the first supplemental indenture dated May 11, 2023
between the Company and the Trustee, as amended and/or restated from time to time.

“Stay Period” has the meaning given to it in the Initial Order.

“Subscribed Shares” means the New Common Shares, to be issued by the Company to the
Investors, in accordance with the terms of this Agreement.

“Tacora Financial Advisor” has the meaning set out in the Recitals.

“Takeback Note Cash Consideration” means the cash consideration of $25,000,000 payable by the
Investors (excluding Cargill) and Other New Equity Investors that are, in each case, also Existing
Noteholders in consideration for the Unsecured Takeback Notes issued in accordance with Section
2.6(a).

“Target Closing Date” means August 30, 2024, or such other date as the Company (with the consent
of the Monitor) and the Investors may agree to in writing.

“Tax Act” means the Income Tax Act (Canada).

“Tax Returns” means all returns, reports, declarations, designations, forms, elections, notices, filings,
information returns, and statements in respect of Taxes that are filed or required to be filed with any
applicable Governmental Entity, including all amendments, schedules, attachments or supplements
thereto and whether in tangible or electronic form.

“Taxes” or “Tax” means, with respect to any Person, all supranational, national, federal, provincial,
state, local or other taxes, including income taxes, global minimum taxes, mining taxes, branch taxes,
profits taxes, capital gains taxes, gross receipts taxes, windfall profits taxes, value added taxes,
severance taxes, ad valorem taxes, property taxes, property transfer taxes, capital taxes, net worth
taxes, production taxes, sales taxes, goods and services taxes, harmonized sales taxes, use taxes,
license taxes, excise taxes, franchise taxes, environmental taxes, transfer taxes, withholding or similar
taxes, payroll taxes, employment taxes, employer health taxes, governmental pension plan premiums
and      contributions,    social    security   premiums,      workers’     compensation      premiums,
employment/unemployment insurance or compensation premiums, stamp taxes, occupation taxes,
premium taxes, alternative or add on minimum taxes, customs duties, import and export taxes,
countervailing and anti-dumping duties or other taxes of any kind whatsoever imposed or charged by
any Governmental Entity and any instalments in respect thereof including amounts or refunds owing
in respect of any form of COVID-19 economic support, together with any interest, penalties, or
additions with respect thereto and any interest in respect of such additions or penalties and any liability
for the payment of any amounts of the type described in this paragraph as a result any express or
implied obligation to indemnify any other Person or as a result of being a transferee or successor in
interest to any Person, whether disputed or not.

“Total Transaction Value” shall be the aggregate value to the Company of all of the Transactions, as
set forth in Section 2.2.

“Transaction Fee Charge” has the meaning given to it in the Initial Order.

“Transaction Regulatory Approvals” has the meaning given to it in Section 5.7.



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“Transactions” means all of the transactions contemplated by this Agreement and the Restructuring
Support Agreement, including:

      (a) the New Equity Offering;

      (b) the New Secured Priority Notes Offering (as applicable);

      (c) repayment of the DIP Obligations, the Existing Cargill Margin Facility and amounts owing
          under the APF (subject to set-off in accordance with the Closing Sequence);

      (d) the cancellation of all Existing Equity;

      (e) the assignment by the Company to ResidualCo of the Excluded Assets, Excluded Contracts
          and Excluded Liabilities and the Claims in respect of the Senior Priority Notes and the Senior
          Secured Notes and the APF (to the extent not otherwise satisfied as contemplated under
          Section 7.2(c));

      (f) the issuances of any Unsecured Takeback Notes and the New Warrants;

      (g) the entering into of the Unanimous Shareholder Agreement, each on and subject to the terms
          set forth herein, in the Approval and Reverse Vesting Order and Articles of Reorganization;
          and

      (h) the entering into by the Company and Cargill Offtake Agreement and the Cargill OPA.

“Trustee” means Computershare Trust Company, N.A., in its capacity as trustee under the Senior
Secured Notes and Senior Priority Notes.

“Unanimous Shareholder Agreement” means the unanimous shareholder agreement to be entered
into, or deemed to be entered into, by the Company, the Investors and any holders of New Common
Shares at the Closing Time. The Unanimous Shareholder Agreement shall be on terms and conditions
as agreed to by the Investors, each acting reasonably.

“Unsecured Takeback Notes” means the unsecured notes in the principal amount of up to
$25,000,000 that may be issued to the Investors (excluding Cargill) and Other New Equity Investors
that are, in each case, also Existing Noteholders on Closing, pursuant to the terms hereof and the
Approval and Reverse Vesting Order. The Unsecured Takeback Notes shall be on substantially the
same terms and conditions as set forth in the Restructuring Support Agreement, and such other terms
and conditions as agreed to by the Investors and the Company, each acting reasonably.

“Warrant Cash Consideration” means the cash consideration, in an amount equal to the fair market
value of the New Warrants determined by the Investors, acting reasonably, payable by Investors
(excluding Cargill) and Other New Equity Investors that are, in each case, also Existing Noteholders
in consideration for the New Warrants issued in accordance with Section 2.6(b).

1.2        Actions on Non-Business Days

If any payment is required to be made or other action (including the giving of notice) is required to be
taken pursuant to this Agreement on a day which is not a Business Day, then such payment or action
shall be considered to have been made or taken in compliance with this Agreement if made or taken
on the next succeeding Business Day.




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1.3        Currency and Payment Obligations

Except as otherwise expressly provided in this Agreement, all dollar amounts referred to in this
Agreement are stated in the lawful currency of the United States.

1.4        Calculation of Time

In this Agreement, a period of days shall be deemed to begin on the first day after the event which
began the period and to end at 5:00 p.m. Eastern time on the last day of the period. If any period of
time is to expire hereunder on any day that is not a Business Day, the period shall be deemed to expire
at 5:00 p.m. Eastern time on the next succeeding Business Day.

1.5        Additional Rules of Interpretation

           (a)    Consents, Agreements, Approval, Confirmations and Notice to be Written. Any
                  consent, agreement, approval or confirmations from, or notice to, any party permitted
                  or required by this Agreement shall be written consent, agreement, approval,
                  confirmation, or notice, and email shall be sufficient.

           (b)    Gender and Number. In this Agreement, unless the context requires otherwise, words
                  in one gender include all genders and words in the singular include the plural and vice
                  versa.

           (c)    Headings and Table of Contents. The inclusion in this Agreement of headings of
                  Articles and Sections and the provision of a table of contents are for convenience of
                  reference only and are not intended to be full or precise descriptions of the text to
                  which they refer.

           (d)    Section References. Unless the context requires otherwise, references in this
                  Agreement to Articles, Sections or Schedules are to Articles or Sections of this
                  Agreement, and Schedules to this Agreement.

           (e)    Words of Inclusion. Wherever the words “include”, “includes” or “including” are used in
                  this Agreement, they shall be deemed to be followed by the words “without limitation”
                  and the words following “include”, “includes” or “including” shall not be considered to
                  set forth an exhaustive list.

           (f)    References to this Agreement. The words “hereof”, “herein”, “hereto”, “hereunder”,
                  “hereby” and similar expressions shall be construed as referring to this Agreement in
                  its entirety and not to any particular Section or portion of it.

           (g)    Statute References. Unless otherwise indicated, all references in this Agreement to
                  any statute include the regulations thereunder, in each case as amended, re-enacted,
                  consolidated or replaced from time to time and in the case of any such amendment,
                  re-enactment, consolidation or replacement, reference herein to a particular provision
                  shall be read as referring to such amended, re-enacted, consolidated or replaced
                  provision and also include, unless the context otherwise requires, all applicable
                  guidelines, bulletins or policies made in connection therewith.

           (h)    Document References. All references herein to any agreement (including this
                  Agreement), document or instrument mean such agreement, document or instrument
                  as amended, supplemented, modified, varied, restated or replaced from time to time



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                 in accordance with the terms thereof and, unless otherwise specified therein, includes
                 all schedules attached thereto.

1.6        Exhibits and Schedules

           (a)   The following are the Exhibits and Schedules attached to and incorporated in this
                 Agreement by reference and deemed to be a part hereof, in each case, as such
                 Exhibits and Schedules may be amended pursuant hereto:

                    SCHEDULES
                    Exhibit “A”                    Investor Entities and Allocations
                    Exhibit “B”                    New Equity Offering Additional Cash Consideration
                    Exhibit “C”                    Additional New Equity Investor Consideration
                    Schedule “A”                   Debt Obligations Owing to Investors
                    Schedule “B”                   Assumed Liabilities
                    Schedule “C”                   Encumbrances to Be Discharged
                    Schedule “D”                   Excluded Assets
                    Schedule “E”                   Excluded Contracts
                    Schedule “F”                   Excluded Liabilities
                    Schedule “G”                   Material Permits, Licenses and Contracts
                    Schedule “H”                   Mineral Tenures
                    Schedule “I”                   Owned Real Property
                    Schedule “J”                   Permits and Licenses
                    Schedule “K”                   Permitted Encumbrances
                    Schedule “L”                   Pre-Filing Trade Amounts
                    Schedule “M”                   Retained Contracts

           (b)   Unless the context otherwise requires, words and expressions defined in this
                 Agreement will have the same meanings in the Exhibits and Schedules and the
                 interpretation provisions set out in this Agreement apply to the Exhibits and Schedules.
                 Unless the context otherwise requires, or a contrary intention appears, references in
                 the Exhibits and Schedules to a designated Article, Section, or other subdivision refer
                 to the Article, Section, or other subdivision, respectively, of this Agreement.

           (c)   The Disclosure Letter itself is confidential information and may not be disclosed unless:
                 (i) it is required to be disclosed pursuant to Applicable Law, unless such Applicable
                 Law permits the Parties to refrain from disclosing the information for confidentiality or
                 other purposes; or (ii) a Party needs to disclose it in order to enforce or exercise its
                 rights under this Agreement and, in that case, only to Persons to which such
                 information must be disclosed in connection therewith.




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                                        ARTICLE 2
               SUBSCRIPTION FOR SUBSCRIBED SHARES; ASSUMPTION OF LIABILITIES

2.1        Deposit

The Investors paid to the Monitor on or about July 12, 2024 in accordance with the Sale Process, by
wire transfer of immediately available funds, their allocation of the Deposit as set forth on Exhibit “A”
hereto. The Deposit shall be held in escrow by the Monitor in an interest-bearing account and applied
in accordance with this Agreement. On or before the third Business Day prior to the Closing Date, the
Monitor shall provide the Investors with the amount of interest that will be accrued on the Deposit as
of the Closing Date. Any interest accrued on the Deposit shall be held in escrow by the Monitor on
behalf of and for the benefit of the Investors.

2.2        Total Transaction Value

The Total Transaction Value in respect of the Subscribed Shares shall be an amount equal to the
aggregate of the following:

           (a)     Cash Consideration: The New Equity Offering Initial Cash Consideration and New
                   Equity Offering Retained Cash Consideration, which shall be paid and satisfied in
                   consideration for the Subscribed Shares in accordance with Section 2.3; and

           (b)     Assumption of Assumed Liabilities: An amount equivalent to the Assumed Liabilities
                   which the Investors shall cause the Company to retain, on the Closing Date and in
                   accordance with the Closing Sequence.

2.3        Cash Subscription Amounts

The Investors shall, severally and not jointly nor jointly and severally, cause the New Equity Offering
Initial Cash Consideration and the New Equity Offering Retained Cash Consideration to be paid as
follows:

           (a)     On the Closing Date, the New Equity Offering Initial Cash Consideration shall, in
                   exchange for a number of Subscribed Shares that is equal to the dollar amount of New
                   Equity Offering Initial Cash Consideration (or for such other number of Subscribed
                   Shares based on a dollar amount per Subscribed Share to be agreed to among the
                   Investors), be paid and satisfied by each Investor as follows: (i) by the release of its
                   portion of the Deposit (together with any accrued interest thereon); and (ii) by wire
                   transfer from each Investor (such obligation will be several for each Investor on their
                   own behalf and not jointly nor jointly and severally) in immediately available funds to
                   an account designated by the Monitor by no later than the Business Day prior to the
                   Closing Date in the amount of its remaining New Equity Offering Initial Cash
                   Consideration as set forth in Exhibit “A” hereto. The Monitor will be directed to pay on
                   behalf of the Company all (i) amounts owing to the Monitor and its legal counsel; (ii)
                   DIP Obligations; (iii) amounts owing pursuant to the Existing Cargill Margin Facility and
                   (iv) the Company’s applicable advisors’ expenses, including financial advisor and legal
                   counsel fees, solely to the extent that such expenses are subject to CCAA Charges
                   that rank ahead of the DIP Charge, and expenses of the Investors, including the
                   Investors’ financial advisor and legal counsel fees, from the New Equity Offering Initial
                   Cash Consideration and any other exit costs and charges as directed by the Investors,
                   all in accordance with the Closing Sequence and the Approval and Reverse Vesting
                   Order. The payment to Cargill of the amounts owing under the Existing Cargill Margin
                   Facility are being made in consideration for Cargill entering into this Agreement and


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                 its agreements, compromises and obligations hereunder. The Investors may, in the
                 alternative, determine that a payment in the same amount shall be made to Cargill not
                 specifically in repayment of the Existing Cargill Margin Facility but otherwise as a
                 payment to Cargill in connection with the Transactions and this Agreement.

           (b)   The New Equity Offering Retained Cash Consideration shall, in exchange for a number
                 of Subscribed Shares that is equal to the dollar amount of New Equity Offering
                 Retained Cash Consideration (or for such other number of Subscribed Shares based
                 on a dollar amount per Subscribed Share to be agreed to among the Investors), be
                 paid and satisfied by each Investor by wire transfer from each Investor (such obligation
                 will be several for each Investor on their own behalf and not jointly nor jointly and
                 severally) in immediately available funds to an account designated by the Monitor by
                 no later than the Business Day prior to the Closing Date in the amount of its New Equity
                 Offering Retained Cash Consideration as set forth in Exhibit “A” hereto, subject to
                 adjustment under Section 2.4(b). The New Equity Offering Retained Cash
                 Consideration shall be retained by the Company as a Retained Asset and will not form
                 part of the Excluded Assets.

Upon payment and satisfaction of the New Equity Offering Initial Cash Consideration and the New
Equity Offering Retained Cash Consideration in accordance with this Section 2.3, the Subscribed
Shares shall be issued to the Investors in accordance with their allocations set forth on Exhibit “A”.
The actions to take place as contemplated by this Section 2.3 are interdependent and are deemed to
take place as nearly as possible, simultaneously.

2.4        Other New Equity Investors

           (a)   From the date hereof until the date that is five Business Days prior to the anticipated
                 Closing Date, Other New Equity Investors who are acceptable to the Initial Noteholder
                 Investors and Cargill may enter into Other New Equity Investor Subscription
                 Agreements and subscribe for New Common Shares in accordance with the terms and
                 conditions of the Other New Equity Investor Subscription Agreements.

           (b)   In the event that any Other New Equity Investors subscribe for New Common Shares
                 in accordance with Section 2.4(a) and fund the amounts under their Other New Equity
                 Investor Subscription Agreements by the second Business Day prior to Closing, the
                 Subscribed Shares, the New Equity Offering Initial Cash Consideration, the New
                 Equity Offering Retained Cash Consideration and the New Equity Offering Additional
                 Cash Consideration attributable to each Initial Noteholder Investor shall be reduced
                 pro rata (based on the Initial Noteholder Investors’ New Equity Investor Commitment
                 Amounts in respect of the Subscribed Shares, New Equity Offering Initial Cash
                 Consideration, New Equity Offering Retained Cash Consideration and New Equity
                 Offering Additional Cash Consideration) by the amount of such Other New Equity
                 Investor’s subscription for New Common Shares; provided that, the New Equity
                 Offering Initial Cash Consideration, New Equity Offering Retained Cash Consideration
                 and the New Equity Offering Additional Cash Consideration shall not, in the aggregate,
                 be adjusted pursuant to this Section 2.4(b) below the Minimum New Equity Allocation
                 for each Initial Noteholder Investor.

2.5        New Equity Offering Additional Cash Consideration

           (a)   Following Closing an amount of the aggregate New Equity Offering Additional Cash
                 Consideration shall, in exchange for a number of additional Subscribed Shares to be
                 issued at such time that is equal to the dollar amount of New Equity Offering Additional


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                 Cash Consideration (or for such other number of Subscribed Shares based on a dollar
                 amount per Subscribed Share to be agreed to among the Investors), be paid by each
                 Investor from time to time in the amount set forth in Exhibit “B” hereto and on the dates
                 set forth in the Unanimous Shareholder Agreement (each such payment, a “Second
                 Tranche New Equity Payment”); provided that the amounts of all such Second
                 Tranche New Equity Payments do not exceed the aggregate amount of each Investor’s
                 New Equity Offering Additional Cash Consideration as set forth in Exhibit “A” hereto
                 as adjusted in accordance with Section 2.4(b).

           (b)   Each Second Tranche New Equity Payment, representing a portion of the aggregate
                 New Equity Offering Additional Cash Consideration, shall, in exchange for additional
                 Subscribed Shares to be issued upon receipt of such Second Tranche New Equity
                 Payment, be paid and satisfied by wire transfer from each Investor (such obligation will
                 be several for each Investor on their own behalf and not jointly nor jointly and severally)
                 in immediately available funds to an account designated by the Company on the date
                 set forth for such payment in the Unanimous Shareholder Agreement in the amount
                 equal to such Second Tranche New Equity Payment. The right of the Company to
                 receive the New Equity Offering Additional Cash Consideration, and the Second
                 Tranche New Equity Payments, will be retained by the Company as Retained Assets
                 and shall survive Closing.

Upon payment and satisfaction of the New Equity Offering Additional Cash Consideration, in the form
of Second Tranche New Equity Payments, in accordance with this Section 2.5, the additional
Subscribed Shares shall be issued to the Investors in accordance with their allocations set forth on
Exhibit “B”.

2.6        Unsecured Takeback Notes; New Warrants

           (a)   On the Closing Date, in consideration for the Takeback Note Cash Consideration, the
                 Company shall issue to the Investors (excluding Cargill) and the Other New Equity
                 Investors that are, in each case, also Existing Noteholders, the Unsecured Takeback
                 Notes, in the following allocations:

                 (i)     to the Initial Noteholder Investors, $5,000,000 in principal amount of the
                         Unsecured Takeback Notes in the allocations set forth in Exhibit “C” hereto;
                         and

                 (ii)    to the Initial Noteholder Investors and the Other New Equity Investors that are,
                         in each case, Existing Noteholders, $20,000,000 in principal amount of the
                         Unsecured Takeback Notes in accordance with such Initial Noteholder
                         Investors and Other New Equity Investors’ pro rata share of their New Equity
                         Investor Commitment Amount in an amount not to exceed the New Equity
                         Investor Aggregate Commitment Amount.

           (b)   On the Closing Date, in consideration for the Warrant Cash Consideration, the
                 Company shall issue to the Investors (excluding Cargill) and the Other New Equity
                 Investors that are, in each case, also Existing Noteholders, the New Warrants, in the
                 following allocations:

                 (i)     to the Initial Noteholder Investors, 40% of such New Warrants in the allocation
                         set forth in Exhibit “C” hereto; and




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                 (ii)   to the Initial Noteholders Investors and the Other New Equity Investors that
                        are, in each case, Existing Noteholders, the remaining 60% of such New
                        Warrants in accordance with such Initial Noteholder Investors and Other New
                        Equity Investors’ pro rata share of their New Equity Investor Commitment
                        Amount in an amount not to exceed the New Equity Investor Aggregate
                        Commitment Amount.

           (c)   The obligation of each Investor (excluding Cargill) and Other New Equity Investors that
                 are, in each case, also Existing Noteholders to pay their respective Takeback Note
                 Cash Consideration and the Warrant Cash Consideration in consideration for the
                 issuance of the applicable Unsecured Takeback Notes and New Warrants,
                 respectively, in accordance with Section 2.6(a) and Section 2.6(b), shall, in accordance
                 with the Closing Sequence, be set-off and satisfied in full against the Company’s
                 obligation to satisfy such amounts of the Backstop Commitment Fee to such Investors
                 (the “Set-off”).

           (d)   The Investors (excluding Cargill) and Other New Equity Investors that are, in each
                 case, also Existing Noteholders may elect among such Investors and Other New
                 Equity Investors to share as between them a combination of Unsecured Takeback
                 Note and New Warrants, such that the allocations as set forth in Section 2.6(a)(ii) and
                 2.6(b)(ii), as applicable, may be individually (as between Unsecured Takeback Notes
                 and New Warrants) greater than their pro rata share of the New Equity Investor
                 Commitment Amount bears to the New Equity Investor Aggregate Commitment
                 Amount (excluding Cargill’s New Equity Investor Commitment Amount), provided that,
                 no such Investor or Other New Equity Investor may elect to hold greater than their pro
                 rata share of the New Equity Investor Aggregate Commitment Amount in both
                 Unsecured Takeback Notes and New Warrants combined.

           (e)   Any amount paid or credited by the Company under this Section 2.6 shall be made
                 free and clear of and without deduction or withholding for any amounts under the
                 Income Tax Act (Canada) or any other provision of Applicable Law except as required
                 by Applicable Law. If the Company is required under Applicable Law to deduct or
                 withhold any such amount under this Section 2.6, then (i) the sum shall be increased
                 as necessary so that, after making all required deductions or withholdings (including
                 deductions or withholdings applicable to additional sums payable under this Section
                 2.6(e)), the recipient receives an amount equal to the sum it would have received had
                 no such deduction or withholding been made, (ii) the Company shall make such
                 required deduction or withholding, and (iii) the Company shall pay to the relevant
                 Governmental Entity the full amount deducted or withheld in accordance with, and
                 within the time limits prescribed by, Applicable Law. Each of the Company and the
                 recipient shall use commercially reasonable efforts to cooperate with each other in
                 accordance with Applicable Law to minimize Tax withholding in respect of a payment
                 under this Section 2.6 including the recipient providing, at the request of the Company,
                 tax forms (including Canada Revenue Agency forms in the NR series) that may be
                 reasonably necessary in order for the Company to withhold Tax at a reduced rate
                 under Applicable Law because of a tax treaty.

2.7        Administrative Expense Reserve

On the Closing Date, the Monitor shall be directed by the Company to retain a portion of the New
Equity Offering Initial Cash Consideration equal to the Administrative Expense Reserve, which the
Monitor shall hold in trust for the benefit of Persons entitled to be paid the Administrative Expense
Costs, and which amounts are received by ResidualCo in consideration of the assumption by


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ResidualCo of the Excluded Liabilities. Any unused portion of the Administrative Expense Reserve
after payment or reservation for all Administrative Expense Costs, as determined by the Monitor, shall
be transferred by the Monitor to the Company.

2.8        Cargill Designee

Notwithstanding any other provision of this Agreement, Cargill (a) shall have the right to designate one
or more of the Cargill Entities (each, a “Cargill Designee”) to perform all or any part of the obligations
of Cargill under this Agreement (including paying the New Equity Offering Cash Consideration agreed
to be paid, and subscribing for the Subscribed Shares agreed to be subscribed for, by Cargill
hereunder), and (b) shall cause such Cargill Designee to perform such obligations in accordance with
the terms of this Agreement. All references to Cargill in this Agreement shall include such Cargill
Designee (as applicable).

                                ARTICLE 3
TRANSFER OF EXCLUDED ASSETS, EXCLUDED CONTRACTS AND EXCLUDED LIABILITIES

3.1        Transfer of Excluded Assets, Excluded Contracts, Excluded Liabilities, Senior Priority
           Notes and Senior Secured Notes to ResidualCo

           (a)    On the Closing Date, in accordance with the Closing Sequence and pursuant to the
                  Approval and Reverse Vesting Order, the Excluded Assets, the Excluded Contracts
                  and Excluded Liabilities shall be transferred to and assumed by ResidualCo, and the
                  same shall be vested in ResidualCo pursuant to the Approval and Reverse Vesting
                  Order. For greater certainty, as consideration for the transfer of the Excluded Assets
                  and the Administrative Expense Reserve and Excluded Contracts, ResidualCo shall
                  assume an amount of the Excluded Liabilities equal to the fair market value of the
                  Excluded Assets and the Administrative Expense Reserve, and any additional
                  Excluded Liabilities that are assumed by ResidualCo shall be assumed for no
                  consideration.

           (b)    On the Closing Date and in accordance with the Closing Sequence and pursuant to
                  the Approval and Reverse Vesting Order, any Claims in respect of any Senior Priority
                  Notes and Senior Secured Notes and any Claims remaining under the APF that are
                  not otherwise satisfied as contemplated under Section 7.2(c), shall be transferred and
                  assumed by ResidualCo, for no consideration, and the same shall be vested in
                  ResidualCo pursuant to the Approval and Reverse Vesting Order, which transfer shall
                  constitute a novation of the Senior Priority Notes and Senior Secured Notes to
                  ResidualCo.

           (c)    Notwithstanding any other provision of this Agreement, neither the Investors nor the
                  Company shall assume or have any Liability for any of the Senior Priority Notes, Senior
                  Secured Notes, any Claims remaining under the APF that are not otherwise satisfied
                  as contemplated under Section 7.2(c), Excluded Liabilities or any Liability related to
                  the Excluded Contracts and the Company and its assets, undertaking, business and
                  properties shall be fully and finally Discharged from all Senior Priority Notes, Senior
                  Secured Notes, and any Claims remaining under the APF that are not otherwise
                  satisfied as contemplated under Section 7.2(c), Excluded Liabilities and any Liabilities
                  related to the Excluded Contracts as at and from and after the Closing Time, pursuant
                  to the Approval and Reverse Vesting Order. For greater certainty, the Company shall
                  be solely liable for all Tax liabilities (including any transfer Taxes), if any, arising in
                  connection with or as a result of the transfer of the Excluded Liabilities to ResidualCo
                  and the assumption of the Excluded Liabilities by ResidualCo.


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           (d)   On the Closing Date, the Company shall retain, free and clear of any and all
                 Encumbrances other than Permitted Encumbrances, all of the assets owned by it on
                 the date of this Agreement and any assets acquired by it up to and including Closing,
                 including the Mining Rights, Mineral Tenures, Owned Real Property, Retained
                 Contracts, Permits and Licenses and Books and Records (the “Retained Assets”),
                 except, however, any assets sold in the ordinary course of business during the Interim
                 Period in accordance with the terms of this Agreement. For greater certainty, the
                 Retained Assets shall not include the Excluded Liabilities, Excluded Assets or the
                 Excluded Contracts, which the Company shall transfer to ResidualCo in accordance
                 with Section 3.1(a) or the Claims in respect of the Senior Priority Notes or Senior
                 Secured Notes, which the Company shall transfer to ResidualCo in accordance with
                 Section 3.1(b). For greater certainty, the Company shall be solely liable for all Tax
                 liabilities (including any transfer Taxes), if any, arising in connection with or as a result
                 of the transfer of the Excluded Assets, Excluded Liabilities, Excluded Contracts, Senior
                 Priority Notes and Senior Secured Notes to ResidualCo.

                                         ARTICLE 4
                               REPRESENTATIONS AND WARRANTIES

4.1        Representations and Warranties as to the Company

Subject to the issuance of the Approval and Reverse Vesting Order, the Company represents and
warrants to the Investors on the date hereof and at Closing as follows and acknowledges and agrees
that the Investors are relying upon such representations and warranties in connection with the
Transactions:

           (a)   Incorporation and Status. The Company is a corporation continued, validly existing
                 and in good standing under the laws of the Province of Ontario and has all necessary
                 corporate power, authority and capacity to enter into, deliver and perform its
                 obligations under this Agreement.

           (b)   Corporate Authorization. The execution, delivery and performance by the Company of
                 this Agreement and the consummation of the Transactions has been authorized by all
                 necessary corporate action on the part of the Company.

           (c)   No Conflict. Subject to receipt of applicable Transaction Regulatory Approvals, the
                 execution, delivery and performance by the Company of this Agreement does not or
                 would not with the giving of notice, the lapse of time, or both, or the happening of any
                 other event or condition result in a breach or a violation of, or conflict with, or allow any
                 other Person to exercise any rights under, any terms or provisions of the
                 Organizational Documents of the Company or Applicable Law.

           (d)   Execution and Binding Obligation. This Agreement has been duly executed and
                 delivered by the Company and constitutes a legal, valid and binding obligation of the
                 Company, enforceable against it in accordance with its terms subject only to the
                 Approval and Reverse Vesting Order.

           (e)   Proceedings. As of the date hereof, other than as disclosed in Schedule 4.1(e) of the
                 Disclosure Letter, there are no Actions pending against the Company with respect to,
                 or in any manner affecting, title to the Retained Assets, the operation of the Business
                 or which would reasonably be expected to enjoin, delay, restrict or prohibit the Closing
                 of the Transactions, as contemplated by this Agreement, or which would reasonably



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                 be expected to delay, restrict or prevent or the Company from fulfilling any of its
                 obligations set forth in this Agreement.

           (f)   Ownership of Retained Assets. Subject to the Court issuing the Approval and Reverse
                 Vesting Order, the Company will be the sole holder of record of, and will be the sole
                 registered and beneficial owner of, and have good and valid title to its interests in the
                 Retained Assets free and clear of all Encumbrances other than Permitted
                 Encumbrances. The Retained Assets are sufficient to operate the Business as it is
                 currently conducted. All of the mining claims comprising Mining Rights have been
                 properly located and recorded in compliance with Applicable Law in all material
                 respects and are comprised of valid and subsisting mineral claims. Except as set out
                 in the Schedule 4.1(f), no Person other than the Company has any material interest in
                 the Mining Rights or the production or profits therefrom or any royalty or streaming or
                 similar interest in respect thereof or any right to acquire any such interest from the
                 Company.

           (g)   Material Permits, Mineral Tenures, Licenses and Contracts. The Material Permits,
                 Mineral Tenures, Licenses and Contracts are in full force and effect. The Company is
                 not in default or breach of any Material Permit, Mineral Tenure, License or Contract
                 that would reasonably be expected to create a Material Adverse Effect, other than
                 defaults arising from: (i) the non-payment of liabilities relating to the period prior to the
                 commencement of the CCAA Proceedings; and (ii) the Company’s commencement of
                 the CCAA Proceedings.

           (h)   Compliance with Laws. Except as would not, individually or in the aggregate, have a
                 Material Adverse Effect as of the date hereof, the Company is in compliance with all
                 Applicable Law. To the Company’s knowledge upon due inquiry, no facts,
                 circumstances or conditions exist that would reasonably be expected to prevent the
                 expansion of the Tailings Impoundment Area at the Scully Mine as described in the
                 Environmental Assessment Registration for Scully Mine Tailings Impoundment Area
                 Expansion Project, July 9, 2021.

           (i)   Employee Matters. Except as would not, individually or in the aggregate, have a
                 Material Adverse Effect as of the date hereof,

                 (i)     the Company is and has been operated in all material respects in compliance
                         with all applicable legislation relating to employees, including but not limited to
                         employment standards, labour relations, wages and hours of work, human
                         rights, occupational health and safety and workers’ compensation;

                 (ii)    other than as disclosed in Schedule 4.1(i) of the Disclosure Letter, there is no
                         proceeding, action, suit or claim pending or threatened involving any employee
                         of the Company;

                 (iii)   there are no existing or, to the Company’s knowledge, threatened strikes,
                         labour disputes, work slow-downs or stoppages, grievances, controversies or
                         other labour relations difficulties affecting the Company, and no such event
                         has occurred within the last five (5) years; and

                 (iv)    all amounts due and payable by the Company to its former or current
                         employees, consultants and contractors have been paid in full and all amounts
                         accruing due to same have been reflected in the financial records of the
                         Company.


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                  Additionally, the Company has provided the Investors with copies of all employment
                  Contracts that have change of control provisions and all amendments thereto.

4.2        Representations and Warranties as to the Investors

Each Investor severally, on its own behalf only, and not jointly or jointly and severally, represents and
warrants to and in favour of the Company as follows and acknowledges and agrees that the Company
is relying upon such representations and warranties in connection with the Transactions.

           (a)    Incorporation and Status. Each Investor is duly incorporated, organized or formed (as
                  applicable), validly existing and in good standing under the Laws of the jurisdiction of
                  its incorporation, organization or formation and has full power and authority to enter
                  into, deliver and perform its obligations under, this Agreement.

           (b)    Corporate Authorization. The execution, delivery and performance by each Investor
                  (or its general partners or equivalent, as the case may be) of this Agreement and the
                  consummation of the Transactions has been authorized by all necessary corporate
                  action on the part of the applicable Investor.

           (c)    No Conflict. Subject to receipt of the Transaction Regulatory Approvals, the execution,
                  delivery and performance by each Investor (or its general partner or equivalent, as the
                  case may be) of this Agreement and the completion of the Transactions does not (or
                  would not with the giving of notice, the lapse of time, or both, or the happening of any
                  other event or condition) result in a breach or a violation of, or conflict with, or allow
                  any other Person to exercise any rights under, any terms or provisions of the
                  Organizational Documents of such Investor, or Applicable Law.

           (d)    Execution and Binding Obligation. This Agreement has been duly executed and
                  delivered by each Investor (or its general partner or equivalent, as the case may be),
                  and constitutes a legal, valid and binding obligation of such Investor, enforceable
                  against it in accordance with its terms except in each case as such enforceability is
                  limited by bankruptcy, insolvency, reorganization, moratorium or similar laws now or
                  hereafter in effect relating to creditors’ rights generally or general principles of equity
                  and subject only to the Approval and Reverse Vesting Order.

           (e)    No Commissions. Except as contemplated by the Restructuring Support Agreement,
                  there are no claims for brokerage commissions, finders’ fees or similar compensation
                  in connection with the Transactions based on any arrangement or agreement which
                  would result in Liability for the Company.

           (f)    Proceedings. As of the date hereof, there are no Actions pending, or to the knowledge
                  of each Investor, threatened against such Investor before any Governmental Entity,
                  which would: (i) prevent such Investor from paying the Cash Consideration to the
                  Monitor; (ii) prohibit or seek to enjoin, restrict or prohibit the Transactions or (iii) which
                  would reasonably be expected to materially delay such Investor from fulfilling any of
                  its obligations set forth in this Agreement.

           (g)    Investment Canada Act. Each Investor is a “Canadian” or a “WTO Investor” or a “Trade
                  Agreement Investor” within the meaning of the Investment Canada Act.

           (h)    Consents. Except for: (i) the issuance of the Approval and Reverse Vesting Order; and
                  (ii) the Transaction Regulatory Approvals, no Authorization, consent or approval of, or
                  filing with or notice to, any Governmental Entity, court or other Person is required in


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                  connection with the Investor’s execution, delivery or performance of this Agreement
                  and each of the agreements to be executed and delivered by the Investor hereunder,
                  including the subscription of the Subscribed Shares hereunder.

           (i)    Financial Ability. The Investor has cash on hand and/or firm financing commitments in
                  amounts sufficient to allow them to pay the balance of the Cash Consideration and all
                  other costs and expenses in connection with the consummation of the Transactions.

           (j)    Securities Law Matters.

                  (i)    Each Investor is:

                         (x) an “accredited investor”, as such term is defined in National Instrument 45-
                         106 – Prospectus Exemptions of the Canadian Securities Administrators and
                         it was not created or used solely to purchase or hold securities and
                         acknowledges that the Subscribed Shares will be subject to resale restrictions
                         under applicable securities laws, which may be indefinite under applicable
                         Canadian securities laws; and

                         (y) it is an “accredited investor” or “qualified institutional buyer” within the
                         meaning of the rules of the United States Securities and Exchange
                         Commission under the Securities Act of 1933, as amended, and the
                         regulations promulgated thereunder, as modified by The Dodd-Frank Wall
                         Street Reform and Consumer Protection Act.

                  (ii)   Each Investor understands and acknowledges that no prospectus or offering
                         memorandum has been or will be filed by the Company with any securities
                         commission or similar regulatory authority in any jurisdiction in connection with
                         the issuance of the Subscribed Shares and that the New Common Shares are
                         being offered for sale only on a “private placement” basis and that the sale of
                         the New Common Shares is conditional upon such sale being exempt from
                         registration requirements and requirements to file and obtain a receipt for a
                         prospectus, and the requirement to sell securities through a registered dealer,
                         or upon the issuance of such orders, consents or approvals as may be required
                         to enable such sale to be made without complying with such requirements, and
                         that as a consequence of acquiring the Subscribed Shares pursuant to such
                         exemptions: (A) the Investors are restricted from using most of the civil
                         remedies otherwise available under applicable securities laws; (B) the
                         Investors will not receive information that would otherwise be required to be
                         provided to it under applicable securities laws; and (C) the Company is relieved
                         from certain obligations that would otherwise apply under applicable securities
                         laws.

4.3        As is, Where is

Each Investor acknowledges and agrees that they have conducted to their satisfaction an independent
investigation and verification of the Company, the Business, the New Securities and the Retained
Assets, and, based solely thereon and the advice of their financial, legal and other advisors, have
determined to proceed with the Transactions. Each Investor has relied solely on the results of their
own independent investigation and verification and, except for the representations and warranties of
the Company expressly set forth in Section 4.1, each Investor understands, acknowledges and agrees
that all other representations, warranties, guarantees, conditions and statements of any kind or nature,
expressed or implied (including any relating to the future or historical financial condition, results of


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operations, prospects, assets or liabilities of the Company or the Business) are specifically disclaimed
by the Company and its financial and legal advisors and the Monitor and its legal counsel. EACH
INVESTOR SPECIFICALLY ACKNOWLEDGES AND AGREES THAT, EXCEPT FOR THE
REPRESENTATIONS AND WARRANTIES OF THE COMPANY EXPRESSLY AND SPECIFICALLY
SET FORTH IN SECTION 4.1: (A) THE INVESTORS ARE ACQUIRING THE NEW SECURITIES ON
AN “AS IS, WHERE IS” BASIS; AND (B) NONE OF THE COMPANY, THE MONITOR OR ANY
OTHER PERSON (INCLUDING ANY REPRESENTATIVE OF THE COMPANY OR THE MONITOR
WHETHER IN ANY INDIVIDUAL, CORPORATE OR ANY OTHER CAPACITY) IS MAKING, AND THE
INVESTORS ARE NOT RELYING ON, ANY REPRESENTATIONS, WARRANTIES, GUARANTEES,
CONDITIONS OR OTHER STATEMENTS OF ANY KIND WHATSOEVER, WHETHER ORAL OR
WRITTEN, EXPRESS OR IMPLIED, STATUTORY OR OTHERWISE, AS TO ANY MATTER
CONCERNING THE COMPANY, THE BUSINESS, THE NEW SECURITIES, THE RETAINED
LIABILITIES, THE EXCLUDED ASSETS, THE EXCLUDED LIABILITIES, THIS AGREEMENT OR
THE TRANSACTIONS, OR THE ACCURACY OR COMPLETENESS OF ANY INFORMATION
PROVIDED TO (OR OTHERWISE ACQUIRED BY) THE INVESTORS OR ANY OF THEIR
RESPECTIVE REPRESENTATIVES, INCLUDING WITH RESPECT TO MERCHANTABILITY,
PHYSICAL OR FINANCIAL CONDITION, DESCRIPTION, FITNESS FOR A PARTICULAR
PURPOSE, OR IN RESPECT OF ANY OTHER MATTER OR THING WHATSOEVER, INCLUDING
ANY AND ALL CONDITIONS, GUARANTEES, STATEMENTS, WARRANTIES OR
REPRESENTATIONS, EXPRESS OR IMPLIED, PURSUANT TO ANY APPLICABLE LAWS IN ANY
JURISDICTION, WHICH THE INVESTORS CONFIRM DO NOT APPLY TO THIS AGREEMENT,
AND ARE HEREBY WAIVED IN THEIR ENTIRETY BY EACH INVESTOR.

                                             ARTICLE 5
                                            COVENANTS

5.1        Target Closing Date

The Parties shall cooperate with each other and shall use their commercially reasonable efforts to
effect the Closing by the Target Closing Date.

5.2        Motion for Approval and Reverse Vesting Order

As soon as practicable after the date hereof, the Company shall serve and file a motion seeking the
issuance of the Approval and Reverse Vesting Order.

The Company shall diligently use its commercially reasonable efforts to seek the issuance and entry
of the Approval and Reverse Vesting Order and each Investor shall cooperate with the Company in
its efforts to obtain the issuance and entry of such Order. The Company’s motion materials for the
Approval and Reverse Vesting Order shall be in form and substance satisfactory to counsel to the
Investors, acting reasonably. The Company will provide counsel to the Investors a reasonable
opportunity to review a draft of the motion materials to be served and filed with the Court, it being
acknowledged that such motion materials should be served as promptly as reasonably possible
following the execution of this Agreement, and will serve such materials on the service list prepared
by the Company and reviewed by the Monitor, and on such other interested parties, and in such
manner, as counsel to the Investors may reasonably require. Both the Company and the Investors will
each promptly notify counsel for the other party of any and all threatened or actual objections to the
motion for the issuance of the Approval and Reverse Vesting Order, of which it becomes aware, and
will promptly provide to counsel for the other party, a copy of all written objections received.




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5.3        Interim Period

           (a)    During the Interim Period, except: (i) as contemplated or permitted by this Agreement
                  (ii) as necessary in connection with the CCAA Proceedings; (iii) as otherwise provided
                  in the Initial Order and any other Court Orders; or (iv) as consented to by the Investors
                  and the Company:

                  (i)       the Company shall continue to maintain its Business and operations in
                            substantially the same manner as conducted on the date of this Agreement,
                            including preserving, renewing and keeping in full force its corporate existence
                            as well as the Material Permits, Mineral Tenures, Licenses and Contracts;

                  (ii)      the Company shall not transport, remove or dispose of, any of its assets out of
                            its current locations outside of its ordinary course of Business;

                  (iii)     the Company shall use commercially reasonable efforts to keep in full force
                            and effect all of its existing insurance policies and give any notice or present
                            any claim under any such insurance policies consistent with past practices of
                            the Company in the ordinary course of business; and

                  (iv)      Post-Filing Trade Amounts shall continue to be paid in the ordinary course of
                            business.

           (b)    During the Interim Period, the Company, in consultation with the Investors and the
                  Monitor, shall attempt to reach agreements with trade suppliers, equipment lessors,
                  real property lessors and other Persons owed Pre-Filing Trade Amounts in respect of
                  (i) terms on which such Person’s Pre-Filing Trade Amounts may be assumed in
                  accordance with this Agreement; and (ii) credit terms in respect of ongoing supply to
                  the Business following the Closing Date.

           (c)    During the Interim Period, except as contemplated or permitted by this Agreement or
                  any Court Order, the Company shall not enter into any non-arms’ length transactions
                  involving the Company or its assets or the Business without the prior approval of the
                  Investors.

           (d)    During the Interim Period, the Company shall comply with the DIP Budget (as defined
                  in the DIP Agreement) in all material respects subject to Permitted Variances (as
                  defined in the DIP Agreement), and for certainty, as such DIP Budget may be amended
                  from time to time pursuant to the DIP Agreement.

5.4        Company Support Obligations

           (a)    During the Interim Period:

                  (i)       the Company will cooperate with the Investors with respect to all material steps
                            required in connection with the Transactions;

                  (ii)      the Company will negotiate in good faith all documentation necessary to
                            consummate the New Equity Offering and New Secured Priority Notes Offering
                            and entry into the Cargill Offtake Agreement, the Cargill OPA and the Cargill
                            Margin Facility with the Investors on terms consistent with the Restructuring
                            Support Agreement and will take any and all commercially reasonable and
                            appropriate actions in furtherance of the New Equity Offering and New


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                          Secured Priority Notes Offering and as agreed to with the Investors, including
                          sending such documentation necessary to consummate the New Equity
                          Offering and New Secured Priority Notes Offering (to the extent finalized) and
                          entry into the Cargill Offtake Agreement, the Cargill OPA and the Cargill Margin
                          Facility at least five Business Days in advance of Closing (or such later date
                          as agreed to between the Company, the Monitor and the Investors, each acting
                          reasonably);

                 (iii)    the Company will promptly notify the Investors, in writing, of receipt of any
                          notice, demand, request or inquiry by any Governmental Entity concerning the
                          Transactions or the issuance by any Governmental Entity of any cease trading
                          or similar Order or ruling relating to any securities of the Company and its
                          Affiliates;

                 (iv)     the Company will take all action as may be necessary so that the Transactions
                          will be effected in accordance with Applicable Law;

                 (v)      the Company will execute any and all documents and perform (or cause its
                          agents and advisors to perform) any and all commercially reasonable acts
                          required in connection with this Agreement;

                 (vi)     the Company and the Investors will use commercially reasonable efforts to
                          timely prepare and file all documentation and pursue all steps reasonably
                          necessary to obtain all required Transaction Regulatory Approvals, and
                          material third-party consents and approvals as may be required in connection
                          with the Transactions;

                 (vii)    the Company and the Investors will use commercially reasonable efforts to
                          prepare and finalize the Management Incentive Plan in advance of the Closing
                          Time;

                 (viii)   the Company and the Investors will use commercially reasonable efforts to
                          agree on new individuals to comprise the board of directors of the Company
                          post-Closing; and

                 (ix)     the Company will promptly notify the Investors of any Material Adverse Effect
                          occurring from and after the date hereof.

5.5        Access During Interim Period

During the Interim Period, the Company shall give, or cause to be given, to the Investors, and their
Representatives, reasonable access during normal business hours to the Retained Assets and
Assumed Liabilities, including the Company’s Scully Mine site, Books and Records, personnel,
properties, Permits and Licenses, and Contracts, to conduct such investigations of the financial and
legal condition of the Business and the Retained Assets as the Investors may deem reasonably
necessary or desirable to further familiarize themselves with the Business and the Retained Assets,
provided that the Investors shall not be entitled to any confidential, privileged or otherwise sensitive
information, as determined by the Company and the Monitor, each acting reasonably. Without limiting
the generality of the foregoing: (i) the Investors and their Representatives shall be permitted
reasonable access during normal business hours to all documents relating to information scheduled
or required to be disclosed under this Agreement and to the Employees; (ii) subject to the ongoing
reasonable oversight and participation of the Company and the Monitor, and with prior notice to the
Company and consent of the Monitor, the Investors and their Representatives shall be permitted to


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contact and discuss the Transactions with Governmental Entities and the Company’s customers and
contractual counterparties; and (iii) the Company shall instruct its executive officers and senior
business managers, employees, counsel, auditors and finance advisors of the Company to reasonably
cooperate with the Investors and their Representatives regarding the same. Such investigations shall
be carried out at the Investors’ sole and exclusive risk and cost, during normal business hours, and
the Company shall co-operate reasonably in facilitating such investigations and shall furnish copies of
all such documents and materials relating to such matters as may be reasonably requested by or on
behalf of the Investors, provided, that: (A) such investigations will not unreasonably interfere with the
Company’s operations; (B) the Investors shall not conduct invasive or intrusive investigations,
inspections, tests or audits in respect of the Retained Assets or Excluded Assets, without the prior
written consent of the Company, which consent shall not be unreasonably withheld, and the Investors
having given the Company at least two (2) Business Days’ prior written notice; (C) the Investors shall
provide the Company with evidence of appropriate liability insurance coverage for the Investors and
their Representatives and the Company will be entitled to have a Representative present during all
such tests, inspections and investigations; (D) any damage to the Retained Assets or Excluded Assets
caused by such tests, land surveys, inspections and investigations will be promptly repaired by the
Investors and the Investors will indemnify and save the Company harmless from all Claims imposed
upon or asserted against it as a result of, in respect of or arising out of such tests, inspections and
investigations, such indemnity to survive Closing or in the event this Agreement is terminated in
accordance with its terms. No investigation made pursuant to this Section 5.5 by the Investors or their
Representatives at any time prior to or following the date of this Agreement shall affect or be deemed
to modify any representation or warranty made by the Company herein.

5.6        Employees

Following the Closing Date, except in respect of change of control payments for senior management,
which amounts shall be waived or are Excluded Liabilities, the Investors agree that the Company will
continue to employ the Employees on the same terms and conditions as they currently enjoy provided
such terms and conditions (and any written agreement related to same) are as set forth in the virtual
data room of the Company for the Transactions as of July 11, 2024. The Investors acknowledge and
agree that that the Company shall remain subject to any collective agreement of the Company and
shall inherit all obligations and liabilities associated with any collective agreement which applies to the
Employees.

5.7        Regulatory Approvals and Consents

           (a)   The Company and the Investors shall, from and after the date hereof, work together to
                 determine whether any material Permits and Licenses required from any
                 Governmental Entity or under any Applicable Law relating to the business and
                 operations of the Company and its Affiliates and the Mining Rights would be required
                 to be obtained in order to permit the Company and the Investors to complete the
                 Transactions, including to permit the Company and the Investors to perform their
                 obligations hereunder and the issuance, acquisition and holding of the New Securities
                 (the “Transaction Regulatory Approvals”). In the event any such determination is
                 made, the Company and the Investors shall use commercially reasonable efforts to
                 apply for and obtain any such Transaction Regulatory Approvals as soon as
                 reasonably practicable, in accordance with Section 5.7(b), in each case at the sole
                 cost and expense of the Company.

           (b)   The Company and the Investors shall use commercially reasonable efforts to apply for
                 and obtain the Transaction Regulatory Approvals and shall co-operate with one
                 another in connection with obtaining such approvals. Without limiting the generality of
                 the foregoing, the Company and the Investors shall: (i) give each other reasonable


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                  advance notice of all meetings or other oral communications with any Governmental
                  Entity relating to the Transaction Regulatory Approvals, as applicable, and provide as
                  soon as practicable but in any case, if any, within the required time, any additional
                  submissions, information and/or documents requested by any Governmental Entity
                  necessary, proper or advisable to obtain the Transaction Regulatory Approvals; (ii) not
                  participate independently in any such meeting or other oral communication without first
                  giving the Company or the Investors, as applicable (or their outside counsel) an
                  opportunity to attend and participate in such meeting or other oral communication,
                  unless otherwise required or requested by such Governmental Entity; (iii) if any
                  Governmental Entity initiates an oral communication regarding the Transaction
                  Regulatory Approvals as applicable, promptly notify the Company or the Investors, as
                  applicable, of the substance of such communication; (iv) subject to Applicable Law
                  relating to the exchange of information, provide each other with a reasonable advance
                  opportunity to review and comment upon and consider in good faith the views of the
                  other in connection with all written communications (including any filings, notifications,
                  submissions, analyses, presentations, memoranda, briefs, arguments, opinions and
                  proposals made or submitted by or on behalf of the Company or an Investor, as
                  applicable) with a Governmental Entity regarding the Transaction Regulatory
                  Approvals as applicable; and (v) promptly provide each other with copies of all written
                  communications to or from any Governmental Entity relating to the Transaction
                  Regulatory Approvals as applicable.

           (c)    Each of the Company, its Affiliates and the Investors may, as advisable and necessary,
                  reasonably designate any competitively or commercially sensitive material provided to
                  the other under this Section 5.6 as “Outside Counsel Only Material”. Such materials
                  and the information contained therein shall be given only to the outside legal counsel
                  of the recipient and, subject to any additional agreements between the Company, its
                  Affiliates and the Investors, will not be disclosed by such outside legal counsel to
                  employees, officers or directors of the recipient unless express written permission is
                  obtained in advance from the source of the materials or its legal counsel.

           (d)    The obligation of the Company, its Affiliates or an Investor to use its commercially
                  reasonable efforts to obtain the Transaction Regulatory Approvals does not require the
                  Company or the Investors (or any Affiliate thereof) to undertake any divestiture of any
                  business or business segment of the Company or the Investors, to agree to any
                  material operating restrictions related thereto or to incur any material expenditure(s)
                  related therewith, unless agreed to by the Investors and the Company. In connection
                  with obtaining the Transaction Regulatory Approvals, the Company shall not agree to
                  any of the foregoing items without the prior written consent of Investors.

           (e)    To the extent that any of the Investors’ consent in respect of the Transactions is
                  required, each Investor agrees to provide such consent (on such terms and conditions
                  acceptable to it, acting reasonably).

5.8        New Secured Priority Notes Offering

The Company hereby covenants and agrees that it shall use its commercially reasonable efforts to
complete the New Secured Priority Notes Offering.

5.9        Release by the Investors

Except in connection with any obligations of the Company contained in this Agreement, any Closing
Deliverables or the Approval and Reverse Vesting Order, effective as of the Closing Time, each


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Investor and Other New Equity Investor hereby releases and forever discharges the Company, the
Monitor and their respective Affiliates, and each of their respective successors and assigns, and all
current and former officers, directors, partners, employees, agents, financial and legal advisors of each
of them (the “Company Released Parties”), whether in this jurisdiction or any other, whether or not
presently known to them or to the law, and whether in law or equity, of and from, and hereby
unconditionally and irrevocably waives, any and all Released Claims that each Investor and Other
New Equity Investor ever had, now has or ever may have or claim to have against any of the Company
Released Parties in their capacity as such, for or by reason of any matter, circumstance, event, action,
inaction, omission, cause or thing whatsoever arising prior to the Closing Time, save and except for
Released Claims arising out of fraud or willful misconduct and any Released Claims against
ResidualCo in respect of the Investors’ Senior Secured Notes and/or Senior Priority Notes.

5.10       Release by the Company

Except in connection with any obligations of each Investor contained in this Agreement, any Closing
Deliverables or the Approval and Reverse Vesting Order, effective as of the Closing Time, the
Company and its respective Affiliates (including ResidualCo) hereby release and forever discharge
each Investor, Other New Equity Investor, the Monitor and their respective Affiliates, and each of their
respective successors and assigns, and all current and former officers, directors, partners, members,
shareholders, limited partners, employees, agents, financial and legal advisors of each of them (the
“Investor Released Parties”), whether in this jurisdiction or any other, whether or not presently known
to them or to the law, and whether in law or equity, of and from, and hereby unconditionally and
irrevocably waives, any and all Released Claims that the Company ever had, now has or ever may
have or claim to have against any of the Investor Released Parties in their capacity as such, for or by
reason of any matter, circumstance, event, action, inaction, omission, cause or thing whatsoever
arising prior to the Closing Time, save and except for Released Claims arising out of fraud or willful
misconduct.

5.11       Pre-Closing Reorganizations

           (a)   Subject to Section 5.11(b), the Company agrees to, as close as reasonably practicable
                 to the Closing Date and upon request of the Investors, and with the consent of the
                 Company, not to be unreasonably withheld, conditioned or delayed, and consent of
                 the Monitor, (i) amend the Senior Secured Notes and Senior Priority Notes to include
                 a right for Senior Secured Noteholders and Senior Secured Priority Noteholders to
                 convert their Senior Secured Notes and Senior Priority Notes into Existing Common
                 Shares (at a conversion price to be agreed to between the Company and the
                 Investors); and (ii) perform such reorganizations of its corporate structure, capital
                 structure, business, operations and assets or such other transactions as the Investors
                 may reasonably request (each such action in paragraphs (i) and/or (ii), a “Pre-Closing
                 Reorganization”). The Company agrees to use commercially reasonable efforts to
                 cooperate with the Investors and their advisors to determine the nature of any Pre-
                 Closing Reorganizations that might be undertaken and the manner in which they would
                 most effectively be undertaken, including filing or causing the Company to file
                 elections, designations or other forms reasonably required to effect the Pre-Closing
                 Reorganizations if such filing is reasonably proposed to be made at or prior to Closing,
                 and to cooperate with the Investors and their respective advisors to seek to obtain
                 consents or waivers which might be required under any Retained Contracts or any
                 approvals, authorizations, Orders or consents from any Governmental Entity required
                 in respect of any Pre-Closing Reorganization.

           (b)   Notwithstanding the foregoing, the Company will not be obligated to participate in any
                 Pre-Closing Reorganization if the Company determines, acting reasonably, that such


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                 Pre-Closing Reorganization would (i) materially impair, impede, delay or prevent the
                 satisfaction of any conditions set forth in article 8, or the ability of the Investors or the
                 Company to consummate the Transactions, (ii) in respect of Section 5.11(a)(i), it not
                 be permitted pursuant to the terms of the Senior Priority Note Indenture or Senior
                 Secured Note Indenture; or (iii) (A) materially alter or impact the consideration which
                 the Company and/or their applicable stakeholders will benefit from as part of the
                 Transactions, or (B) have adverse Tax consequences, or impose any Liability on, the
                 Monitor or any director of the Company in each case that is materially greater than the
                 amount of such Tax consequences or Liability in the absence of such action (taking
                 into account Sections 5.9 and 5.10 hereof) taking into account any reasonable
                 mitigation measures including, for greater certainty, disclosure under subsection
                 237.3(2) of the Tax Act.

           (c)   This Agreement (including the Closing Sequence) will be amended and restated as
                 required to give effect to a Pre-Closing Reorganization.

                                             ARTICLE 6
                                       INSOLVENCY PROVISIONS

6.1        Court Orders and Related Matters

           (a)   From and after the date of this Agreement and until the Closing Date, the Company
                 shall deliver to applicable legal counsel for each Investor drafts of any and all
                 pleadings, motions, notices, statements, applications, schedules, reports, and other
                 papers to be filed or submitted by the Company in connection with or related to this
                 Agreement, for the Investors’ prior review at least two (2) Business Days in advance
                 of service and filing of such materials (or where circumstances make it impracticable
                 to allow for two (2) Business Days’ review, with as much opportunity for review and
                 comment as is practically possible in the circumstances). The Company acknowledges
                 and agrees (i) that any such pleadings, motions, notices, statements, applications,
                 schedules, reports, or other papers in respect of Approval and Reverse Vesting Order
                 shall be in form and substance satisfactory to the Investors, acting reasonably, and (ii)
                 to consult and cooperate with the Investors regarding any discovery, examinations and
                 hearing in respect of any of the foregoing, including the submission of any evidence,
                 including witnesses testimony, in connection with such hearing.

           (b)   Notice of the motion seeking the issuance of the Approval and Reverse Vesting Order
                 shall be served by the Company on all Persons required to receive notice under
                 Applicable Law and the requirements of the CCAA and the Court, and any other
                 Person determined necessary by the Company or the Investors, acting reasonably.

           (c)   In the event that the Approval and Reverse Vesting Order has not been issued and
                 entered by the Court by August 8, 2024 (the “RVO Outside Date”) or such later date
                 agreed to in writing by the each of the Investors, in their sole discretion, the Investors
                 may terminate this Agreement, provided that if all other conditions (including receipt of
                 Transaction Regulatory Approvals) are satisfied, the Company shall be entitled to
                 extend the RVO Outside Date to the Outside Date.

           (d)   If the Approval and Reverse Vesting Order is appealed or a motion for leave to appeal,
                 rehearing, reargument or reconsideration is filed with respect thereto, the Company
                 agrees to take all action as may be commercially reasonable and appropriate to defend
                 against such appeal, petition or motion.



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6.2        Form of Vesting Order

The Investors agree that if the Court does not grant the Approval and Reverse Vesting Order prior to
the Outside Date, the structure of the Transactions shall be converted to contemplate an asset
purchase agreement and approval and vesting Order, and the Parties shall amend the structure of the
Transactions accordingly, so long as the material terms contained herein are continued into the
amended structure of the Transactions (including, without limitation, the Cargill Offtake Agreement),
and provided that (a) the transfer and assignment of the Mining Rights (or replacements thereof)
effective as of the Closing shall be a condition to the implementation of the Transactions pursuant to
such asset purchase agreement, and (b) the Investors and Company shall negotiate, in good faith, a
reduction in the amount of the Pre-Filing Trade Amounts that form part of the Assumed Liabilities as
reduced consideration under the Transactions to reflect any decrease in value arising from the adverse
impact to the tax attributes that would be acquired pursuant to the amended structure of the
Transaction or as a result of additional costs that may need to be incurred in connection with an asset
purchase, including assigning any Mining Rights or applying for and obtaining any replacement Mining
Rights.

6.3        CCAA Plan

The Investors and the Company shall have the option, in their reasonable discretion and subject to
consultation with the Monitor, to proceed with implementing the Transactions pursuant to a CCAA plan
of compromise and arrangement, instead of pursuant to an Approval and Reverse Vesting Order, in
which case the Parties shall work in good faith to amend this Agreement and negotiate such related
agreements, documents and instruments to reflect such alternative implementation process (and, for
greater certainty, the economic terms of the Transactions (including, without limitation, the Cargill
Offtake Agreement) shall not be amended as a result of such alternative implementation process);
provided that such alternative implementation process shall not, in the view of the Investors and the
Company, acting reasonably and in consultation with the Monitor, be likely to result in an inability,
solely as a result of such alternative implementation process, for the Parties to complete the
Transactions prior to the Outside Date. Further, nothing in this Agreement shall be construed to restrict
the Investors from advancing an alternative CCAA plan of compromise and arrangement.

6.4        DIP Credit Bid

If the conditions to Closing set forth in article 8 hereof are not (or cannot reasonably be) satisfied by
the Outside Date, in accordance with and subject to the DIP Participation Agreements, the DIP Lender
agrees that it will subscribe for and purchase the Subscribed Shares in exchange for an amount
equivalent to all of the outstanding DIP Obligations owing by the Company to the DIP Lender at the
applicable time (the “DIP Credit Bid Consideration”), which shall be satisfied by the DIP Lender credit
bidding the DIP Credit Bid Consideration as consideration for the Subscribed Shares. The DIP Lender,
parties to the DIP Participation Agreements and the Company shall work in good faith to amend the
Transactions contemplated hereby to reflect the foregoing.

                                          ARTICLE 7
                                    CLOSING ARRANGEMENTS

7.1        Closing

The Closing shall take place virtually by exchange of documents in PDF format on the Closing Date,
in accordance with the Closing Sequence (as defined below), and shall be subject to such escrow
document release arrangements as the Parties may agree.




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7.2        Closing Sequence

On the Closing Date, subject to the terms of the Approval and Reverse Vesting Order, Closing shall
take place in the following sequence (the “Closing Sequence”):

           (a)   First, each Investor shall pay their respective unpaid balance of the New Equity
                 Offering Initial Cash Consideration and New Equity Offering Retained Cash
                 Consideration, each as set forth in Exhibit “A” hereto (and which amounts will, for
                 greater certainty, not include any amount of the Deposit and interest accrued thereon),
                 to be held in escrow by the Monitor on behalf of the Investors;

           (b)   Second, the Company shall be deemed to transfer to ResidualCo the Excluded Assets,
                 the Excluded Contracts and the Excluded Liabilities, pursuant to the Approval and
                 Reverse Vesting Order;

           (c)   Third, Cargill shall set-off a portion of the amount owing by the Company under the
                 APF (equal to the amount of the Cargill Pre-filing Payable) against the Cargill Pre-filing
                 Payable;

           (d)   Fourth, the Company shall be deemed to transfer to ResidualCo all Claims in respect
                 of the Senior Secured Notes and the Senior Priority Notes and any Claims remaining
                 under the APF, pursuant to the Approval and Reverse Vesting Order, and the deemed
                 transfer of the Senior Priority Notes and the Senior Secured Notes to ResidualCo will
                 constitute a novation of such Senior Priority Notes and Senior Secured Notes to
                 ResidualCo;

           (e)   Fifth, the Retained Assets will be retained by the Company, in each case free and clear
                 of and from any and all Claims and, for greater certainty, all of the Encumbrances,
                 other than Permitted Encumbrances, affecting or relating to the Retained Assets are
                 hereby expunged and discharged as against the Retained Assets;

           (f)   Sixth, all Existing Equity (other than the Existing Common Shares which will be
                 cancelled in accordance with the Articles of Reorganization) as well as any agreement,
                 Contract, plan, indenture, deed, certificate, subscription rights, conversion rights,
                 pre-emptive rights, options (including stock option or share purchase or equivalent
                 plans), or other documents or instruments governing and/or having been created or
                 granted in connection with the share capital of the Company (other than any New
                 Secured Priority Notes Offering Subscription Agreements or Other New Equity
                 Subscription Agreements) shall be deemed terminated and cancelled for no
                 consideration;

           (g)   Seventh, the following shall occur concurrently:

                 (i)     the Company shall issue the Subscribed Shares in respect of the New Equity
                         Offering Initial Cash Consideration and the New Equity Offering Retained Cash
                         Consideration to the applicable Investors in accordance with their allocations
                         set forth in Exhibit “A” hereto;

                 (ii)    the Unsecured Takeback Notes and the New Warrants shall be issued to the
                         applicable Investors, and the Set-Off shall be effective;

                 (iii)   the Monitor shall release the New Equity Offering Retained Cash
                         Consideration to the Company;


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                  (iv)    the Monitor shall be directed to pay on behalf of the Company: (A) all advisors’
                          expenses of the Company and the Monitor (including financial advisor and
                          legal counsel fees) related to the CCAA Proceedings and the Transactions
                          solely to the extent that such expenses are subject to CCAA Charges that rank
                          ahead of the DIP Charge; (B) to each Eligible Equity Investor, an amount no
                          greater than $650,000 as a reimbursement for advisors’ fees and expenses
                          incurred in connection with the Transactions by each applicable Eligible Equity
                          Investor; provided that each such Eligible Equity Investor has provided to the
                          Monitor applicable invoices setting out in reasonable detail such professional
                          fees and expenses; and (C) to the Investors, unless waived by the Investors,
                          the Cost Reimbursement Amount, in each case, from the New Equity Offering
                          Initial Cash Consideration;

                  (v)     the Monitor shall retain the Administrative Expense Reserve to a separate
                          interest-bearing account from the New Equity Offering Initial Cash
                          Consideration; and

                  (vi)    the Monitor shall be directed to pay, on behalf of the Company, all DIP
                          Obligations accruing up to the Closing Date (the calculation of such amount to
                          be provided to the Monitor, the Company and the other Investors no later than
                          two (2) Business Days prior to Closing) and the Existing Cargill Margin Facility,
                          each in full and from the New Equity Offering Initial Cash Consideration and
                          all security in respect thereof will be fully Discharged and released;

           (h)    Eighth, the Articles of Reorganization will be filed and be effective; and

           (i)    Ninth, the Unanimous Shareholder Agreement shall be effective.

The Investors, in consultation with the Company and Monitor, may change the order of the Closing
Sequence or amend the Closing Sequence provided that such amendment to the Closing Sequence
does not materially negatively alter or impact the Transactions or the consideration which the
Company and/or its applicable stakeholders will benefit from as part of the Transactions.

7.3        The Investors’ Closing Deliverables

At or before the Closing (as applicable), the Investors shall deliver or cause to be delivered to the
Company (or to the Monitor, if so indicated below), the following:

           (a)    the aggregate of the New Equity Offering Initial Cash Consideration, less the Deposit
                  and any accrued interest on the Deposit, in accordance with Section 7.2(a), and the
                  New Equity Offering Retained Cash Consideration;

           (b)    with respect to Cargill only, the Cargill Offtake Agreement, the Intercreditor Agreement,
                  the Cargill OPA and, if applicable, the Security Agreements to which Cargill is a party,
                  in each case, duly executed by Cargill;

           (c)    counterpart signature of each applicable Investor with respect to the Unsecured
                  Takeback Notes, if applicable;

           (d)    counterpart signatures from each Investor with respect to the Unanimous Shareholder
                  Agreement;




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           (e)   in the event that the New Secured Priority Notes Offering closes concurrently with
                 Closing, a counterpart signature of the Intercreditor Agreement, New Secured Priority
                 Notes Indenture and the applicable Security Agreements from the trustee and/or
                 collateral agent therefor; and

           (f)   such other agreements, documents and instruments as may be reasonably required
                 by the Company to complete the Transactions provided for in this Agreement, all of
                 which shall be in form and substance satisfactory to the Parties, acting reasonably.

7.4        The Company’s Closing Deliverables

At or before the Closing (as applicable), the Company shall deliver or cause to be delivered to the
Investors, the following:

           (a)   a certificate dated as of the Closing Date and executed by an executive officer of the
                 Company confirming and certifying that each the conditions in Sections 8.2(b), 8.2(d)
                 and 8.2(e) have been satisfied;

           (b)   counterpart signature from the Company with respect to the Unanimous Shareholder
                 Agreement;

           (c)   counterpart signature from the Company with respect to the Cargill Offtake Agreement,
                 the Cargill OPA, if applicable, the Security Agreements to which Cargill is a party and
                 all related ancillary documents applicable thereunder;

           (d)   evidence satisfactory to the Investors, acting reasonably, of the filing of the Articles of
                 Reorganization;

           (e)   share certificates representing the Subscribed Shares (or other acceptable evidence
                 of ownership of the Subscribed Shares);

           (f)   counterpart signature from the Company with respect to the Unsecured Takeback
                 Notes; and

           (g)   in the event that the New Secured Priority Notes Offering closes concurrently with
                 Closing, counterpart signature from the Company with respect to the New Secured
                 Priority Notes Indenture, the Intercreditor Agreement and the applicable Security
                 Agreements and all related ancillary documents.

                                             ARTICLE 8
                                       CONDITIONS OF CLOSING

8.1        Mutual Conditions

The respective obligations of each Investor and the Company to consummate the Transactions are
subject to the satisfaction of, or compliance with, at or prior to the Closing Time, each of the conditions
listed below:

           (a)   No Violation of Orders or Law. During the Interim Period, no Governmental Entity shall
                 have enacted, issued or promulgated any final or non-appealable Order or Law which
                 has: (i) the effect of making any of the Transactions illegal, or (ii) the effect of otherwise
                 prohibiting, preventing or restraining the consummation of any of the Transactions.



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           (b)   Court Approval. The following conditions shall have been met: (i) the Approval and
                 Reverse Vesting Order shall have been issued by the Court and become a Final Order;
                 and (ii) the Initial Order, the Sale Process Order and the Approval and Reverse Vesting
                 Order shall not have been vacated, set aside or stayed.

           (c)   Transaction Regulatory Approvals. Each of the Transaction Regulatory Approvals
                 shall have been obtained and shall be in force and effect and shall have not been
                 rescinded or modified.

The Parties acknowledge that the foregoing conditions are for the mutual benefit of the Company and
each Investor. Any condition in this Section 8.1 may be waived by the Company and by the Investors,
in whole or in part, without prejudice to any of their respective rights of termination in the event of non-
fulfillment of any other condition in whole or in part. Any such waiver will be binding on the Company
or the Investors, as applicable, only if made in writing. Notwithstanding anything to the contrary
contained herein, the Company and each Investor shall, subject to Section 5.7, take all such
commercially reasonable actions, steps and proceedings as are reasonably within its control to ensure
that the conditions listed in this Section 8.1 are fulfilled at or before the commencement of the first step
in the Closing Sequence.

8.2        The Investors’ Conditions

The Investors shall not be obligated to complete the Transactions, unless each of the conditions listed
below in this Section 8.2 have been satisfied, it being understood that the said conditions are included
for the exclusive benefit of the Investors, and may be waived by the Investors in whole or in part,
without prejudice to any of its rights of termination in the event of non- fulfillment of any other condition
in whole or in part. Any such waiver shall be binding on the Investors only if made in writing, provided
that if the Investors do not waive a condition(s) and complete the Closing, such condition(s) shall be
deemed to have been waived by the Investors. The Company shall take all such commercially
reasonable actions, steps and proceedings as are reasonably within its control to ensure that the
conditions listed below in this Section 8.2 are fulfilled at or before the commencement of the first step
in the Closing Sequence.

           (a)   The Company’s Deliverables. The Company shall have executed and delivered or
                 caused to have been executed and delivered to the Investors at the Closing all the
                 documents contemplated in Section 7.4.

           (b)   Material Adverse Effect. There shall not have been any Material Adverse Effect since
                 the date hereof.

           (c)   No New Equity Issuances. The Company shall not have issued any New Common
                 Shares or other securities of the Company, or incurred any new debt obligations,
                 except in each case as provided for in the Approval and Reverse Vesting Order and
                 this Agreement.

           (d)   No Breach of Representations and Warranties. Except as such representations and
                 warranties may be affected by the occurrence of events or transactions specifically
                 contemplated by this Agreement (including the Approval and Reverse Vesting Order),
                 each of the representations and warranties contained in Section 4.1 shall be true and
                 correct in all material respects (unless qualified by materiality, in which case the
                 foregoing qualification shall not apply): (i) as of the Closing Date as if made on and as
                 of such date; or (ii) if made as of a date specified therein, as of such date.




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           (e)   No Breach of Covenants. The Company shall have performed in all material respects
                 (unless qualified by materiality, in which case the foregoing qualification shall not
                 apply) all covenants, obligations and agreements contained in this Agreement required
                 to be performed by the Company on or before the Closing.

           (f)   Rail Agreement. The Rail Agreement shall have been renegotiated on terms and
                 conditions acceptable to the Investors, acting reasonably.

           (g)   Mining Rights Acknowledgment. The Mining Rights Acknowledgement shall have been
                 delivered by the Minister of Industry, Energy and Technology of Newfoundland and
                 Labrador.

Each Investor acknowledges and agrees that (i) its obligations to consummate the Transactions are
not conditioned or contingent in any way upon receipt of financing from a third party, and (ii) failure to
consummate the Transactions as a result of the failure to obtain financing shall constitute a breach of
this Agreement by the Investor which will give rise, inter alia, to the Company’s recourses for breach.

8.3        The Company’s Conditions

The Company shall not be obligated to complete the Transactions unless each of the conditions listed
below in this Section 8.3 have been satisfied, it being understood that the said conditions are included
for the exclusive benefit of the Company, and may be waived by the Company in whole or in part,
without prejudice to any of their rights of termination in the event of nonfulfillment of any other condition
in whole or in part. Any such waiver shall be binding on the Company only if made in writing, provided
that if the Company does not waive a condition(s) and completes the Closing, such condition(s) shall
be deemed to have been waived by the Company. Each Investor shall take all such actions, steps and
proceedings as are reasonably within the Investor’s control as may be necessary to ensure that the
conditions listed below in this Section 8.3 are fulfilled at or before the commencement of the first step
in the Closing Sequence.

           (a)   Investor’s Deliverables. Each Investor shall have executed and delivered or caused to
                 have been executed and delivered to the Company (with a copy to the Monitor) at the
                 Closing all applicable documents and payments required of such Investor
                 contemplated in Section 7.3.

           (b)   No Breach of Representations and Warranties. Except as such representations and
                 warranties may be affected by the occurrence of events or transactions specifically
                 contemplated by this Agreement (including the Approval and Reverse Vesting Order),
                 each of the representations and warranties contained in Section 4.2 shall be true and
                 correct in all material respects: (i) as of the Closing Date as if made on and as of such
                 date; or (ii) if made as of a date specified therein, as of such date.

           (c)   No Breach of Covenants. The Investors shall have performed in all material respects
                 all covenants, obligations and agreements contained in this Agreement required to be
                 performed by the Investor on or before the Closing.

           (d)   Administrative Expense Reserve. The Investors shall have agreed to an amount for
                 the Administrative Expense Reserve on or before July 26, 2024 (or such other date as
                 agreed to by the Investors, the Company and the Monitor) that is satisfactory to the
                 Company, the Investors and the Monitor, each acting reasonably.




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8.4        Monitor’s Certificate

When the conditions to Closing set out in Section 8.1, 8.2 and 8.3 have been satisfied and/or waived
by the Company or the Investors, as applicable, the Company, the Investors or their respective counsel
will each deliver to the Monitor confirmation in writing that such conditions of Closing, as applicable,
have been satisfied and/or waived and that the Parties are prepared for the Closing Sequence to
commence (the “Conditions Certificates”). Upon receipt of the Conditions Certificates and the receipt
of the entire Cash Consideration, the Monitor shall: (i) issue forthwith its Monitor’s Certificate
concurrently to the Company and counsel to the Investors, at which time the Closing Sequence will
be deemed to commence and be completed in the order set out in the Closing Sequence, and Closing
will be deemed to have occurred; and (ii) file as soon as practicable a copy of the Monitor’s Certificate
with the Court (and shall provide a true copy of such filed certificate to the Company and counsel to
the Investors). In the case of: (i) and (ii) above, the Monitor will be relying exclusively on the Conditions
Certificates without any obligation whatsoever to verify or inquire into the satisfaction or waiver of the
applicable conditions, and the Monitor will have no liability to the Company or the Investors as a result
of filing the Monitor’s Certificate.

                                               ARTICLE 9
                                              TERMINATION

9.1        Grounds for Termination

           (a)    Subject to Section 9.1(b), this Agreement may be terminated on or prior to the Closing
                  Date:

                  (i)     by the mutual agreement of the Company and the Investors;

                  (ii)    by either the Company or the Investors, upon the termination, dismissal or
                          conversion of the CCAA Proceedings, provided that neither Party may
                          terminate this Agreement pursuant to this Section 9.1(a)(ii) if the termination,
                          dismissal or conversion of the CCAA Proceedings was caused by a breach of
                          this Agreement by such Party;

                  (iii)   by either the Company or the Investors if the Court grants relief terminating the
                          Stay Period with regard to any material assets or business of the Company
                          and any appeal periods relating thereto shall have expired;

                  (iv)    by the Investors, if the Approval and Reverse Vesting Order has not been
                          issued and entered by the Court by the RVO Outside Date, or such later date
                          agreed to in writing by each of the Investors;

                  (v)     by either the Company or the Investors, if a Governmental Entity issues a final,
                          non-appealable Order permanently restraining, enjoining or otherwise
                          prohibiting consummation of the Transactions where such Order was not
                          requested, encouraged or supported by the terminating Party, provided that
                          the right to terminate this Agreement under this Section 9.1(a)(v) shall not
                          apply if an Investor or Investors have assumed another Investor’s obligations
                          hereunder in a manner that the restraint, enjoinment or other prohibition on the
                          consummation of the Transactions would no longer apply;

                  (vi)    by either the Company or the Investors, at any time following the Outside Date,
                          if Closing has not occurred on or prior to 11:59 p.m. (Eastern time) on the
                          Outside Date, provided that the reason for the Closing not having occurred is


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                           not due to any act or omission, or breach of this Agreement, by the Party
                           proposing to terminate this Agreement;

                  (vii)    by the Company, if there has been a material violation or breach by an Investor
                           of any agreement, covenant, representation or warranty of the Investor in this
                           Agreement which would prevent the satisfaction of, or compliance with, any
                           condition set forth in Section 8.3, as applicable, by the Outside Date and such
                           violation or breach has not been waived by the Company or cured by the
                           Investor, or some or all of the non-breaching Investors have not assumed such
                           Investor’s obligations to acquire New Common Shares under this Agreement
                           within fifteen (15) Business Days of the Company providing notice to the
                           Investor of such breach, unless the Company is itself in material breach of its
                           own obligations under this Agreement at such time;

                  (viii)   by the Investors, if there has been a material violation or breach by the
                           Company of any agreement, covenant, representation or warranty of the
                           Company in this Agreement which would prevent the satisfaction of, or
                           compliance with, any conditions set forth in Section 8.2, as applicable, by the
                           Outside Date and such violation or breach has not been waived by the
                           Investors or cured by the Company within ten (10) Business Days of the
                           Investors providing written notice to the Company of such breach, unless the
                           Investors are themselves in material breach of their own obligations under this
                           Agreement at such time; or

                  (ix)     if an Investor fails or Investors fail to fund its or their Cash Consideration on or
                           prior to the date on which Closing would have otherwise occurred (each a
                           “Defaulting Investor”), by the other Investors if some or all of the non-
                           Defaulting Investors have not assumed such Defaulting Investor’s obligations
                           to acquire New Common Shares under this Agreement within five (5) Business
                           Days of the date on which Closing would otherwise have occurred.

           (b)    Prior to the Company agreeing or electing to any termination pursuant to
                  Section 9.1(a), the Company shall first obtain the prior written consent of the Monitor.

           (c)    The Party desiring to terminate this Agreement pursuant to this Section 9.1 (other than
                  pursuant to Section 9.1(a)(i)) shall give written notice of such termination to the other
                  Party or Parties, as applicable, specifying in reasonable detail the basis for such
                  Party’s exercise of its termination rights.

9.2        Effect of Termination

           (a)    If this Agreement is terminated pursuant to Section 9.1, all further obligations of the
                  Parties under this Agreement will terminate and no Party will have any Liability or
                  further obligations to any other Party hereunder, except, subject to Section 9.2(b), as
                  contemplated in Sections 2.1 (Deposit), 10.6 (Expenses), 10.7 (Public
                  Announcements), 10.8 (Notices), 10.12 (Waiver and Amendment), 10.15 (Governing
                  Law), 10.16 (Dispute Resolution), 10.17 (Attornment), 10.18 (Successors and
                  Assigns), 10.19 (Assignment), 10.20 (No Liability; Monitor Holding or Disposing
                  Funds), and 10.21 (Third Party Beneficiaries), which shall survive such termination.

           (b)    If the Agreement is terminated pursuant to Section 9.1(a)(vii) or 9.1(a)(ix), the Deposit
                  shall become the property of, and shall be transferred to, the Company as liquidated
                  damages (and not as a penalty) to compensate the Company for the expenses


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                 incurred and opportunities foregone as a result of the failure to close the Transactions.
                 The Company agrees that, notwithstanding any other provision herein, the Deposit
                 shall be the exclusive remedy as against the non-Defaulting Investors if any event
                 described in Section 9.1(a)(vii) or 9.1(a)(ix) occurs giving rise to a termination right to
                 the Company under this Agreement. If this Agreement is terminated pursuant
                 9.1(a)(ix), the Company may pursue any Claims of the Company as against each
                 Defaulting Investor related to the termination of this Agreement and such Claims are
                 fully reserved, provided that the aggregate liability for a Defaulting Investor to the
                 Company will not exceed an amount equal to the amount of the Deposit. Any and all
                 accrued interest in respect of such Deposit shall continue to belong to the Investors.

           (c)   If the Closing does not occur for any reason and the Agreement is terminated other
                 than the Agreement having been terminated pursuant to Section 9.1(a)(vii) or
                 9.1(a)(ix), the Deposit (together with any accrued interest, and without offset or
                 deduction) will be forthwith refunded in full to each Investor in accordance with their
                 allocations set forth on Exhibit “A”.

                                               ARTICLE 10
                                                GENERAL

10.1       Transaction Structure

The Investors, with the prior consent of the Company and the Monitor, acting reasonably, may amend
the structure of the Transactions, including with respect to optimizing tax structures, provided that such
amendment to the Closing Sequence does not materially alter or impact the Transactions or the
consideration which the Company and/or its applicable stakeholders will benefit from as part of the
Transactions.

10.2       Approval, Consent, Waiver, Amendment, Termination

           (a)   Except as may be otherwise specifically provided for under this Agreement, where this
                 Agreement provides that a matter shall have been approved, agreed to, consented to,
                 waived, amended or terminated by the Investors, or that a matter must be satisfactory
                 or acceptable to the Investors, such approval, agreement, consent, waiver,
                 amendment, termination, satisfaction, acceptance or other action shall be effective or
                 shall have been obtained or satisfied, as the case may be, for the purposes of this
                 Agreement only where each Initial Noteholder Investor and Cargill shall have
                 confirmed their approval, consent, waiver, amendment, termination, satisfaction or
                 acceptance, as the case may be, to the Parties, which confirmation may be delivered
                 by email, provided, further, that any amendment to this Agreement (including any
                 attachment hereto) that would materially and adversely affect any Investor compared
                 to any other Investor shall require the prior written consent of the adversely affected
                 Investor.

           (b)   Counsel to each Investor shall be able to communicate any required approval,
                 agreement, consent, waiver, amendment, termination, satisfaction, acceptance or
                 other action hereunder on behalf of such Investor, provided such Investor has provided
                 the approval, agreement, consent, waiver, amendment, termination, satisfaction,
                 acceptance or other action hereunder to its counsel. The Investors may be able to rely
                 on such confirmation of approval, agreement, consent, waiver, amendment,
                 termination, satisfaction, acceptance or other action without any obligation to inquire
                 into such counsel’s authority to do so on behalf of their respective clients and such
                 communication shall be effective for all purposes of this Agreement.


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10.3       Cost Reimbursement Amount

In consideration for the Investors having expended considerable time and expense in connection with
this Agreement and the negotiation thereof, the Company shall reimburse the Investors, in accordance
with the terms of this Agreement and the Approval and Reverse Vesting Order, documented out-of-
pocket third party expenses incurred by the Investors up to a maximum aggregate amount of
CAD$3,000,000 (the “Cost Reimbursement Amount”) on the earlier of the termination of this
Agreement, and the Closing. The Investors may agree to waive such Cost Reimbursement Amount.
Each of the Parties acknowledges and agrees that the agreements contained in this Section 10.3 are
an integral part of the Transactions and this Agreement and that the Cost Reimbursement Amount is
not a penalty. Upon the granting and in accordance with the terms of the Approval and Reverse
Vesting Order, the Investors will be entitled to the Cost Reimbursement Amount which shall be subject
to a Court-ordered charge granted pursuant to the Approval and Reverse Vesting Order against the
assets and property of the Company which shall rank immediately behind the DIP Charge and in
priority to all other security interests, trusts, liens, charges and Encumbrances, Claims of secured
creditors, statutory or otherwise in favour of any Person. The Company does not intend to withhold or
deduct any amounts under the Income Tax Act (Canada) or any other provision of Applicable Law
from any amount paid or credited by the Company under this Section 10.3 and the Company shall
immediately notify the Investors of any change in the Company’s intention.

10.4       Tax Returns

The Investors shall: (a) prepare or cause to be prepared and file or cause to be filed all Tax Returns
for the Company for all Tax periods ending on or prior to the Closing Date and for which Tax Returns
have not been filed as of such date; and (b) cause the Company to duly and timely make or prepare
all Tax Returns required to be made or prepared by them to duly and timely file all Tax Returns required
to be filed by them for periods beginning before and ending after the Closing Date.

10.5       Survival

All representations, warranties, covenants and agreements of the Company or each Investor made in
this Agreement or any other agreement, certificate or instrument delivered pursuant to this Agreement
shall not survive the Closing except where, and only to the extent that, the terms of any such covenant
or agreement expressly provide for rights, duties or obligations extending after the Closing, or as
otherwise expressly provided in this Agreement.

10.6       Expenses

Except as set forth in Section 7.2, or as otherwise set forth herein or agreed in writing upon amongst
the Parties, each Party shall be responsible for its own costs and expenses (including any Taxes
imposed on such expenses) incurred in connection with the negotiation, preparation, execution,
delivery and performance of this Agreement and the Transactions (including the fees and
disbursements of legal counsel, bankers, agents, investment bankers, accountants, brokers and other
advisers).

10.7       Public Announcements

           (a)    All public announcements made in respect of the Transactions shall be made solely
                  by the Company, provided that such public announcements shall be in form and
                  substance acceptable to the Investors, acting reasonably. Notwithstanding the
                  foregoing, nothing herein shall prevent a Party from making public disclosure in respect
                  of the Transactions to the extent required by Applicable Law, provided that if any
                  disclosure is to reference a Party hereto, such Party will be provided notice of such


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                 requirement so that such Party may seek a protective order or other appropriate
                 remedy.

           (b)   Subject to the above, the Investors will agree to the existence and factual details of
                 this Agreement and the Transactions generally being set out in any public disclosure
                 made by the Company or an Investor, including, without limitation, press releases and
                 court materials, and to the filing of this Agreement and the Restructuring Support
                 Agreement with the Court in connection with the CCAA Proceedings, provided that the
                 Restructuring Support Agreement shall be subject to redactions as may be necessary
                 to protect the commercial interests of the applicable Parties.

           (c)   Except as required by Applicable Law, the Company shall not without the prior written
                 consent of an Investor (not to be unreasonably withheld, conditioned or delayed),
                 specifically name the Investor in any press release or other public announcement or
                 statement or commentary or make any representation in relation thereto.

10.8       Notices

           (a)   Any notice, direction, certificate, consent, determination or other communication
                 required or permitted to be given or made under this Agreement shall be in writing and
                 shall be effectively given and made if: (i) delivered personally; (ii) sent by prepaid
                 courier service; or (iii) sent by e-mail, in each case, to the applicable address set out
                 below:

                 if to the Company to:

                 Tacora Resources Inc.
                 102 NE 3rd Street Suite 120
                 Grand Rapids, Minnesota
                 55744 USA

                 Attention:        Heng Vuong
                 E-mail:           Heng.Vuong@tacoraresources.com

                 with a copy to:

                 Stikeman Elliott LLP
                 5300 Commerce Court West,
                 199 Bay St.,
                 Toronto, ON M5L 1B9

                 Attention:        Ashley Taylor / Lee Nicholson
                 E-mail:           ataylor@stikeman.com / leenicholson@stikeman.com

                 If to the Monitor to:

                 FTI Consulting Canada Inc.
                 79 Wellington Street West
                 Toronto Dominion Centre, Suite 2010, P.O. Box 104
                 Toronto, ON M5K 1G8

                 Attention:        Paul Bishop / Jodi Porepa
                 E-mail:           Paul.Bishop@fticonsulting.com / Jodi.Porepa@fticonsulting.com


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                 with a copy to:

                 Cassels, Brock & Blackwell LLP
                 Bay Adelaide Centre
                 40 Temperance St. #3200,
                 Toronto, ON M5H 2S7

                 Attention:        Ryan Jacobs / Jane Dietrich
                 E-mail:           rjacobs@cassels.com / jdierich@cassels.com

                 If to Investors or any Investors other than Cargill:

                 Osler, Hoskin & Harcourt LLP
                 First Canadian Place
                 100 King St. W Suite 6200
                 Toronto, ON M5X 1B8

                 Attention:   Marc Wasserman / Michael De Lellis / Justin Sherman
                 E-mail:      mwasserman@osler.com         /         mdelellis@osler.com             /
                 jsherman@osler.com

                 If to Cargill:

                 Goodmans LLP
                 Bay Adelaide Centre
                 333 Bay Street, Suite 3400
                 Toronto, ON M5H 2S7

                 Attention:  Robert J. Chadwick / Caroline Descours / Emily Ting
                 E-mail:     rchadwick@goodmans.ca          /   cdescours@goodmans.ca                /
                 eting@goodmans.ca

           (b)   Any such communication so given or made shall be deemed to have been given or
                 made and to have been received on the day of delivery if delivered, or on the day of
                 e-mailing, provided that such day in either event is a Business Day and the
                 communication is so delivered, e-mailed or sent before 5:00 p.m. Eastern time on such
                 day. Otherwise, such communication shall be deemed to have been given and made
                 and to have been received on the next following Business Day.

           (c)   Any Party may from time to time change its address under this Section 10.8 by notice
                 to the other Parties given in the manner provided by this Section 10.8.

10.9       Time of Essence

Time shall be of the essence of this Agreement in all respects.

10.10 Further Assurances

The Company on the one hand, and the Investors on the other hand, shall, at the sole expense of the
requesting Party, from time to time promptly execute and deliver or cause to be executed and delivered
all such further documents and instruments and shall do or cause to be done all such further acts and
things in connection with this Agreement that the other Parties may reasonably require as being



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necessary or desirable in order to effectively carry out or better evidence or perfect the full intent and
meaning of this Agreement or any provision hereof.

10.11 Entire Agreement

This Agreement and the deliverables delivered by the Parties in connection with the Transactions
constitute the entire agreement between the Parties or any of them pertaining to the subject matter of
this Agreement and supersede all prior agreements, understandings, negotiations and discussions,
whether oral or written, with respect to the subject matter herein. There are no conditions,
representations, warranties, obligations or other agreements between the Parties with respect to the
subject matter of this Agreement (whether oral or written, express or implied, statutory or
otherwise) except as explicitly set out in this Agreement.

10.12 Waiver and Amendment

Except as expressly provided in this Agreement, no amendment or waiver of this Agreement shall be
binding unless: (a) executed in writing by the Company and each of the Investors (including by way of
email); and (b) the Monitor shall have provided its prior consent. No waiver of any provision of this
Agreement shall constitute a waiver of any other provision nor shall any waiver of any provision of this
Agreement constitute a continuing waiver unless otherwise expressly provided.

10.13 Severability

Any provision of this Agreement which is prohibited or unenforceable in any jurisdiction will, as to that
jurisdiction, be ineffective to the extent of such prohibition or unenforceability and will be severed from
the balance of this Agreement, all without affecting the remaining provisions of this Agreement or
affecting the validity or enforceability of such provision in any other jurisdiction.

10.14 Remedies Cumulative

The rights, remedies, powers and privileges herein provided to a Party are cumulative and in addition
to and not exclusive of or in substitution for any rights, remedies, powers and privileges otherwise
available to that Party.

10.15 Governing Law

This Agreement shall be governed by and construed in accordance with the laws of the Province of
Ontario and the federal laws of Canada applicable therein.

10.16 Dispute Resolution

If any dispute arises with respect to the interpretation or enforcement of this Agreement, including as
to what constitutes a breach or material breach of this Agreement for the purposes of article 8 hereof,
such dispute shall be determined by the Court within the CCAA Proceedings, or by such other Person
or in such other manner as the Court may direct. The Parties irrevocably submit and attorn to the
exclusive jurisdiction of the Court.

10.17 Attornment

Each Party agrees: (a) that any Action relating to this Agreement shall be brought in the Court, and
for that purpose now irrevocably and unconditionally attorns and submits to the jurisdiction of the
Court; (b) that it irrevocably waives any right to, and shall not, oppose any such Action in the Court on
any jurisdictional basis, including forum non conveniens; and (c) not to oppose the enforcement


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against it in any other jurisdiction of any Order duly obtained from the Court as contemplated by this
Section 10.17. Each Party agrees that service of process on such Party as provided in this
Section 10.17 shall be deemed effective service of process on such Party.

10.18 Successors and Assigns

This Agreement shall enure to the benefit of, and be binding on, the Parties and their respective
successors and permitted assigns.

10.19 Assignment

The Company may not assign any of its rights or delegate any of its obligations under this Agreement
without the prior written consent of the other Parties. Prior to Closing, each Investor may assign, upon
written notice to the Company, all or any portion of its rights and obligations under this Agreement
(including its right to subscribe for New Securities hereunder) to another Investor or an Affiliate
provided that such Affiliate is capable of making the same representations and warranties herein and
completing the Transactions by the Outside Date. Any purported assignment or delegation in violation
of this Section 10.19 is null and void. No assignment or delegation shall relieve the assigning or
delegating party of any of its obligations hereunder. For certainty, this Section 10.19 shall not restrict
or apply to the provisions of Section 2.8.

10.20 No Liability; Monitor Holding or Disposing Funds

Any obligation of or direction to the Monitor to disburse or hold funds or take any action shall be subject
to the Approval and Reverse Vesting Order or other order of the Court in all respects. The Investors
and the Company acknowledge and agree that the Monitor, acting in its capacity as the Monitor of the
Company in the CCAA Proceedings, and the Monitor’s Affiliates and their respective former and
current directors, officers, employees, agents, advisors, lawyers and successors and assigns will have
no Liability under or in connection with this Agreement, the Approval and Reverse Vesting Order or
any other related Court orders whatsoever (including, without limitation, in connection with the receipt,
holding or distribution of the Cash Consideration (including the Deposit and interest accrued thereon)),
whether in its capacity as Monitor, in its personal capacity or otherwise. If, at any time, there shall
exist, in the sole and absolute discretion of the Monitor, any dispute between the Company on the one
hand, and the Investors on the other hand, with respect to the holding or disposition of any portion of
the Cash Consideration (including the Deposit and interest accrued thereon), or any other obligation
of the Monitor hereunder in respect of the Cash Consideration (including the Deposit and interest
accrued thereon), or if at any time the Monitor is unable to determine the proper disposition of any
portion of the Cash Consideration (including the Deposit and interest accrued thereon), or its proper
actions with respect to its obligations hereunder in respect of the Cash Consideration (including the
Deposit and interest accrued thereon), then the Monitor may (i) make a motion to the Court for direction
with respect to such dispute or uncertainty and, to the extent required by law or otherwise at the sole
and absolute discretion of the Monitor, pay the Cash Consideration (including the Deposit and interest
accrued thereon) or any portion of thereof into the Court for holding and disposition in accordance with
the instructions of the Court, or (ii) hold the Cash Consideration (including the Deposit and interest
accrued thereon)or any portion thereof and not make any disbursement thereof until: (a) the Monitor
receives a written direction signed by both the Company and the Investors directing the Monitor to
disburse, as the case may be, the Cash Consideration (including the Deposit and interest accrued
thereon) or any portion thereof in the manner provided for in such direction, or (b) the Monitor receives
an Order from the Court, which is not stayed or subject to appeal and for which the applicable appeal
period has expired, instructing it to disburse, as the case may be, the Cash Consideration (including
the Deposit and interest accrued thereon) or any portion thereof in the manner provided for in the
Order. For the avoidance of doubt, all references to the Deposit in this Section shall be deemed to
include any accrued interest thereon.


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10.21 Third Party Beneficiaries

Except with respect to: (i) the Monitor as expressly set forth in this Agreement (including Section 10.20)
or ResidualCo as it relates to all rights, covenants, obligations and benefits in favour of the Company
under this Agreement that survive Closing and are transferred to ResidualCo as an Excluded Liability
at the Closing; and (ii) ResidualCo as it relates to all rights, covenants, obligations and benefits in
favour of the Company under this Agreement that survive Closing and are transferred to ResidualCo
as an Excluded Asset at the Closing, this Agreement is for the sole benefit of the Parties, and nothing
in this Agreement, express or implied, is intended to or shall confer upon any other Person any legal
or equitable right, benefit or remedy of any nature whatsoever under or by reason of this Agreement.

10.22 Counterparts

This Agreement may be executed in counterparts, each of which shall be deemed to be an original
and both of which taken together shall be deemed to constitute one and the same instrument. To
evidence its execution of an original counterpart of this Agreement, a Party may send a copy of its
original signature on the execution page hereof to the other Parties by e-mail in pdf format or by other
electronic transmission and such transmission shall constitute delivery of an executed copy of this
Agreement to the receiving Party.

               [Remainder of page intentionally left blank. Signature page follows.]




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                                        MILLSTREET CAPITAL MANAGEMENT LLC,
                                        as investment manager on behalf of multiple
                                        noteholders




                                        By:
                                               Name: Craig M. Kelleher
                                               Title: Managing Member




                   Signature page to Subscription Agreement
Docusign Envelope ID: EA45651C-7CA8-4F6D-AA15-363A6D2E374D
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            IN WITNESS WHEREOF the Parties have executed this Agreement as of the date first above written.

                                                                          TACORA RESOURCES INC.


                                                                    By:
                                                                          Name: Heng Vuong
                                                                          Title: Executive Vice President &
                                                                                 Chief Financial Officer




                                               Signature page to Subscription Agreement
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                                                                    Exhibit “A”
                                                         Investors Entities and Allocations



     Investor          Deposit        New Equity          New Equity        New Equity          Total Cash       Total Cash
                                     Offering Initial   Offering Initial      Offering        Consideration    Consideration on
                                         Cash                Cash          Retained Cash        on Closing         Closing
                                     Consideration      Consideration      Consideration      (less Deposit)
                                                        (less Deposit)

 Millstreet1         $8,000,000.00   Allocation of subscription amounts amongst New           $79,500,000.00     $87,500,000.00
 OSP   1
                     $4,800,000.00   Equity Offering Initial Cash Consideration and New       $47,700,000.00     $52,500,000.00
                                     Equity Offering Retained Cash Consideration to be
 Cargill,            $3,200,000.00   determined prior to Closing.                             $31,800,000.00     $35,000,000.00
 Incorporated
 Total                 16,000,000                                                               159,000,000         175,000,000



Note:

1: Subject to adjustment in accordance with Section 2.4 of the Subscription Agreement to the extent any Other New Equity Investors, who
are also Existing Noteholders, enter into the Other New Equity Investor Subscription Agreements.




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                                                             Exhibit “B”
                                          New Equity Offering Additional Cash Consideration

                                 Millstreet1         OSP1             Cargill           Total

 Aggregate New Equity
 Offering Additional Cash         $37,500,000       $22,500,000      $15,000,000        75,000,000
 Consideration:


Note:

1: Subject to adjustment in accordance with Section 2.4 of the Subscription Agreement to the extent any Other New Equity Investors, who
are also Existing Noteholders, enter into the Other New Equity Investor Subscription Agreements.




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                                                                  Exhibit “C”
                                                         Takeback Notes; New Warrants

                     Investor            Unsecured           Principal      Takeback Note      Allocation of     Allocation of
                                       Takeback Notes       Amount of           Cash           40% of New        60% of New
                                          for Initial       Unsecured       Consideration1      Warrants          Warrants 1
                                         Noteholder      Takeback Notes
                                          Investors        for Investors
                                                          (who are also
                                                             Existing
                                                          Noteholders)1

                                            $3,125,000
            Millstreet                                        $12,500,000      $15,625,000            62.50%            62.50%
                                            $1,875,000
            OSP                                                $7,500,000        $9,375,000           37.50%            37.50%

            Total                           $5,000,000        $20,000,000      $25,000,000


Note:

1: Subject to adjustment in accordance with Section 2.6 of the Subscription Agreement to the extent any Other New Equity Investors, who
are also Existing Noteholders, enter into the Other New Equity Investor Subscription Agreements.




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                                                 Schedule “A”
                                             Investor Debtholders 1
                             Investor                     Outstanding Obligations

                   Millstreet                                                    $79.5 million

                   OSP                                                           $47.0 million
                                                  DIP Facility: approximately $129.8 million

                                                   (comprised of $125m of principal amount
                                                      drawn and $4.8m of Post-Filing Credit
                                                                               Extensions)
                   Cargill
                                                         Senior Secured Margining Facility:
                                                                approximately $6.2 million

                                                                             APF: $30 million




1
 As at July 7, 2024, principal amounts outstanding only, not including accrued interest, fees, expense or any other
applicable amounts.
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                                               Schedule “B”
                                             Assumed Liabilities

     •     Grievances of the Union under the collective agreement between the Company and the United
           Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service
           Workers International Union (United Steel Workers) executed on January 11, 2023, including:

                   1. Grievance filed on February 20, 2023, regarding Daniel Critch (Termination date:
                      February 16, 2023; Seniority date: June 24, 2019)

                   2. Grievance filed on December 16, 2022, regarding Mark Dandy (Termination date:
                      December 12, 2022; Seniority date: September of 2019)

                   3. Grievance filed on October 13, 2023, regarding Stan Hill (Termination date:
                      October 12, 2023; Seniority date: May of 2019)

                   4. 4. Grievance filed on October 27, 2023, regarding Anna March (Termination date:
                      October 18, 2023; Seniority date: 2021 or 2022)

     •     Substantially all Pre-Filing Trade Amounts and royalty obligations of the Company on terms
           and amounts to be agreed by the Company and the Investors

     •     Post-Filing Trade Amounts on terms and amounts to be agreed by the Company and the
           Investors

     •     Liabilities under Retained Contracts on terms and amounts to be agreed by the Company, the
           Investors and the counterparty of the Retained Contracts

     •     All Liabilities of the Company relating to the Retained Assets arising from and after the Closing
           Time

     •     All Liabilities of the Company under the Retained Contracts and Permits and Licenses arising
           from and after the Closing Time




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                                               Schedule “C”
                                       Encumbrances to Be Discharged
All Encumbrances concerning, with regard to, arising from, or which otherwise related to:

     •     Any of the Excluded Contracts or the Excluded Liabilities

     •     The Senior Priority Notes

     •     The Senior Secured Notes

     •     The DIP Agreement

     •     The APF

     •     Lien Claims made by JSM Electrical Ltd. subject to proceedings before the Supreme Court of
           Newfoundland and Labrador (Court File No. 2023 01G 5933)

     •     Lien Claims made by MacGregors Industrial Group subject to proceedings before the Supreme
           Court of Newfoundland and Labrador (Court File No. 2024 01G 1503)

     •     Lien Claims made by 13859380 Canada Inc. subject to proceedings before the Supreme Court
           of Newfoundland and Labrador (Court File No. 2023 01G 6075)

     •     Mechanics Lien No. 20544 registered by Energy Lock Inc. on May 16, 2024

     •     Mechanics Lien No. 20446 registered by Newfound Roofing Ltd. on November 10, 2023




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                                        Schedule “D”
                                       Excluded Assets

•    Unless otherwise agreed by the Investors, the Existing Equity of the subsidiaries and
     affiliates of the Company
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                                             Schedule “E”
                                          Excluded Contracts
All contracts that are not Retained Contracts as listed in Schedule “M”, including but not limited to:

    •    Amended and Restated Advance Payments Facility Agreement between the Company and
         Cargill dated May 29, 2023, as amended by the Amendment dated June 23, 2023

    •    DIP Facility Term Sheet between the Company and Cargill dated October 9, 2023

    •    Debenture between the Company and Cargill dated January 9, 2023

    •    General Security Agreement between the Company and Cargill dated January 9, 2023

    •    Assignment of Material Contracts between the Company and Cargill dated January 9, 2023

    •    Assignment of Insurance between the Company and Cargill dated January 9, 2023

    •    Hypothec on Movables between the Company and Cargill dated January 9, 2023

    •    Share Pledge Agreement between the Company and Cargill dated January 9, 2023

    •    Blocked Account Agreement between the Company, Bank of Montreal, in its capacity as the
         provider of banking services, Computershare Trust Company, N.A., in its capacity as notes
         collateral agent under the Indenture (as defined thereunder) and Cargill dated January 9, 2023

    •    Collateral and Intercreditor Agreement between the Company, the other Grantors thereto from
         time to time, Computershare Trust Company, N.S., in its capacity as the Notes Collateral
         Agent, as the Authorized Representative for the Indenture Secured Parties, Cargill and each
         Additional Authorized Representative from time to time party thereto dated May 11, 2023

    •    Pari Passu Intercreditor Agreement between the Company, the other Grantors thereto from
         time to time, Computershare Trust Company, N.S., in its capacity as the Notes Collateral
         Agent, as the Authorized Representative for the Indenture Secured Parties, Cargill and each
         Additional Authorized Representative from time to time party thereto dated January 9, 2023

    •    Second Amended and Restated Shareholders’ Agreement between the Company, Proterra
         M&M MGCA B.V., Magglobal, Proterra M&M Co-Invest LLC, OMF Fund II (Be) Ltd., Cargill
         and Titlis Mining AS dated January 9, 2023

    •    Letter Agreement between the Company, Cargill and certain holders of the Company’s (a)
         9.00% Cash / 4.00% PIK Senior Secured Priority Notes Due 2023 and (b) 8.250% Senior
         Secured Notes due May 15, 2026 listed in Schedule “A” thereto dated May 29, 2023

    •    Sublease Offer between the Company and 12893118 Canada Inc. dated January 31, 2023

    •    Offer to Lease between the Company and 9356-0563 Quebec Inc. dated February 12, 2021
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•    Assignment of Insurance by the Company in favour of Wells Fargo Bank, National Association,
     in its capacity as Notes Collateral Agent dated May 11, 2021

•    Assignment of Material Contracts by the Company in favour of Wells Fargo Bank, National
     Association, in its capacity as Notes Collateral Agent dated May 11, 2021

•    Debenture between the Company and Wells Fargo Bank, National Association, in its capacity
     as Notes Collateral Agent

•    Debenture Amendment Agreement between the Company and Computershare Trust
     Company, N.A., in its capacity as Notes Collateral Agent dated February 16, 2022

•    Debenture Second Amendment between the Company and Computershare Trust Company,
     N.A., in its capacity as Notes Collateral Agent dated May 11, 2023

•    General Security Agreement between the Company and Wells Fargo Bank, National
     Association, in its capacity as Notes Collateral Agent dated May 11, 2021

•    Deed of Hypothec between the Company and Wells Fargo Bank, National Association, in its
     capacity as Notes Collateral Agent dated August 3, 2021

•    Share Pledge Agreement between the Company and Wells Fargo Bank, National Association,
     in its capacity as Notes Collateral Agent

•    Note No. A-2 between the Company and Computershare Trust Company, N.S. as Trustee
     dated February 16, 2022

•    Note No. S-1 between the Company and Computershare Trust Company, N.S. as Trustee
     dated February 16, 2022

•    Indenture between the Company and Wells Fargo, National Association as Trustee and Notes
     Collateral Agent dated May 11, 2021

•    First Supplemental Indenture between the Company and Computershare Trust Company,
     N.A. as Trustee and Notes Collateral Agent dated February 15, 2022

•    Second Supplemental Indenture between the Company and Computershare Trust Company,
     N.A. as Trustee and Notes Collateral Agent dated February 16, 2022

•    Purchase Agreement between the Company and Jefferies LLC, in its capacity as
     representative dated February 8, 2022

•    Purchase Agreement between the Company and Jefferies LLC, in its capacity as
     representative dated May 5, 2021

•    Jarvis Hedge Intercreditor Agreement between the Company, Wells Fargo Bank, National
     Association, as the First Lien Representative and the Indenture Collateral Agent and SAF
     Jarvis 2 LP dated May 11, 2021
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•    Amended and Restated Base Indenture between the Company and Computershare Trust
     Company, N.A., as Trustee dated May 11, 2023

•    First Supplemental Indenture between the Company and Computershare Trust Company,
     N.A. dated May 11, 2023

•    Second Supplemental Indenture between the Company and Computershare Trust Company,
     N.A. dated May 11, 2023

•    Third Supplemental Indenture between the Company and Computershare Trust Company,
     N.A. dated June 23, 2023

•    Fourth Supplemental Indenture between the Company and Computershare Trust Company,
     N.A. dated September 8, 2023

•    Sydvaranger Offtake Conditions Precedent Agreement between the Company, Cargill and
     Sydvaranger Mining AS dated July 21, 2022

•    Agreement between the Company, Sydvaranger Mining AS, Tacora Norway AS and OMF
     Fund II H Ltd dated February 15, 2023

•    Royalty Agreement between, inter alios, the Company, Sydvaranger Mining AS, Sydvaranger
     Eiendom AS, Sydvaranger Drift AS, Sydvaranger Malmtransport AS, Tacora Norway AS and
     OMF Fund II H Ltd dated January 13, 2021

•    Amendment Agreement to Royalty Agreement between the Company, Sydvaranger Mining
     AS, Sydvaranger Eiendom AS, Sydvaranger Drift AS, Sydvaranger Malmtransport AS, Tacora
     Norway AS and OMF Fund II H Ltd dated February 15, 2023

•    Funding Letter between the Company and OMF Fund II Be Ltd., OMF Fund II Be Ltd.,
     Sydvaranger Mining AS and Tacora Norway AS dated February 8, 2023

•    Funding Letter between the Company and OMF Fund II H Ltd., Tacroa Norway and
     Sydvaranger Mining AS dated February 15, 2023

•    Side Letter Agreement between the Company, OMF Fund II (BE) Ltd., OMF Fund II H Ltd.,
     Tacora Norway AS and Sydvaranger Mining AS dated January 3, 2023

•    Offtake Agreement between the Company and Cargill dated November 11, 2018

•    Iron Ore Stockpile Purchase Agreement between the Company and Cargill dated December
     17, 2019

•    Iron Ore Sale and Purchase Contract between the Company and Cargill dated April 5, 2017

•    First Restatement of Iron Ore Sale and Purchase Contract between the Company and Cargill
     dated November 9, 2018
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•    Consent between the Company and Cargill dated May 11, 2023

•    Side Letter Agreement between the Company and Cargill dated March 20, 2020

•    Side Letter Agreement between the Company and Cargill dated March 2, 2021

•    Side Letter Agreement between the Company and Cargill dated March 9, 2022

•    Side Letter Agreement between the Company and Cargill dated September 8, 2022

•    Side Letter Agreement between the Company and Cargill dated January 25, 2023

•    Amendment Letter between the Company and Cargill dated January 9, 2023

•    Side Letter Agreement between the Company and Cargill dated January 31, 2023

•    Side Letter Agreement between the Company and Cargill dated June 30, 2022

•    Side Letter Agreement between the Company and Cargill dated March 28, 2022

•    Side Letter Agreement between the Company and Cargill dated July 11, 2022

•    Side Letter Agreement between the Company and Cargill dated July 15, 2022

•    Side Letter Agreement between the Company and Cargill dated June 27, 2022

•    Side Letter Agreement between the Company and Cargill dated May 27, 2022

•    Side Letter Agreement between the Company and Cargill dated June 13, 2022

•    Side Letter Agreement between the Company and Cargill dated June 16, 2022

•    Side Letter Agreement between the Company and Cargill dated April 29, 2022

•    Side Letter Agreement between the Company and Cargill dated March 10, 2022

•    Side Letter Agreement between the Company and Cargill dated May 15, 2023

•    Side Letter Agreement between the Company and Cargill dated May 13, 2022

•    Amendment between the Company and Cargill dated July 22, 2022, pursuant to the Side Letter
     Agreement between the Company and Cargill dated March 10, 2022

•    Side Letter Agreement between the Company and Cargill dated February 24,2022

•    Amendment between the Company and Cargill dated March 10, 2022, pursuant to the Side
     Letter Agreement between the Company and Cargill dated February 24, 2022
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   •    Wetcon Purchase and Sale Agreement between the Company and Cargill dated July 10, 2023

   •    all indemnity agreements with all current and former directors of the Company or any third
        party that is not an employee of the Company at the time of Closing

   •    all engagement letters, retainer agreements, fee reimbursement agreements and any similar
        agreements between the Company and any legal, financial or other advisors to the Company
        or any other party

   •    Contribution Agreement between the Company and Atlantic Canada Opportunities Agency
        dated February 1, 2023

   •    Contribution Agreement between the Company and Atlantic Canada Opportunities Agency
        dated October 20, 2020

   •    Contribution Agreement between the Company and Atlantic Canada Opportunities Agency
        dated March 9, 2022


and in each case including all amendments, restatements, addendums, modifications, work orders,
revisions, statements of work and other documentation or supplements issued thereunder
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                                         Schedule “F”
                                       Excluded Liabilities

•    Any and all Claims and Liabilities relating to the Senior Priority Notes and the Senior Secured
     Notes

•    Any and all claims under the APF that are not otherwise satisfied pursuant to the Agreement

•    Any and all Liabilities with regard to any litigation or other legal proceedings brought or
     initiated, or which could be brought or initiated, against the Company relating to or arising from
     any act, occurrence or circumstance existing at or before the Closing Date, including in
     connection with:

         1. Claims made by JSM Electrical Ltd. subject to proceedings before the Supreme Court
            of Newfoundland and Labrador (Court File No. 2023 01G 5933);

         2. Claims made by 13859380 Canada Inc. subject to proceedings before the Supreme
            Court of Newfoundland and Labrador (Court File No. 2023 01G 6075);

         3. Claims made by Quebec Iron Ore Inc. subject to proceedings before the Supreme
            Court of Newfoundland and Labrador (Court File No. 2023 01G 4195);

         4. Claims made pursuant to letters dated April 27, 2023 and August 25, 2023 from
            1128349 B.C. Ltd. and subject to arbitration proceedings in Newfoundland and
            Labrador; and

         5. Claims made by Construction & Expertise PG Inc. subject to proceedings before the
            Supreme Court of Newfoundland and Labrador (Court File No. 2022 01G 3243).

•    Any and all Liabilities relating directly or indirectly, at Law, under contract or otherwise, to or
     arising from the Excluded Contracts

•    Any and all Liabilities relating directly or indirectly, at Law, under contract or otherwise, to or
     arising from the Excluded Assets

•    Any and all Liabilities under the engagement letter between Greenhill & Co. Canada Ltd. and
     Tacora Resources Inc., dated as of January 23, 2023 (including all amendments,
     restatements, addendums, modifications, work orders, revisions, statements of work and other
     documentation or supplements issued thereunder) that are not secured by a CCAA Charge
     ranking in priority to the DIP Charge
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                                               Schedule “G”
                                  Material Permits, Licenses and Contracts

      •    See Schedule “J”

      •    See Schedule “H”

      •    Insurance Policies
No.       Policy      Policy          Date        Insurer       Coverage           Expiratio   Annual
          Type        Number                                    Allowance          n           Premium



1.        Automobi    43-CAO-         01-Mar-     National      C$2,000,000        01-Mar-24   C$100,680
          le          150292-04       23          Liability &
          Insuranc                                Fire
          e                                       Insuranc
                                                  e
                                                  Compan
                                                  y

2.        Commerc     43-GLO-         01-Mar-     National      Each               01-Mar-24   C$196,000
          ial         303996-06       23          Liability &   Occurrence
          General                                 Fire          Limit(CAD):
          Liability                               Insuranc      $2,000,000
          Occurren                                e
          ce                                      Compan        Medical
                                                  y             Expenses
                                                                Limit: $25,000
                                                                –    any   one
                                                                person

                                                                Tenant’s Legal
                                                                Liability Limit:
                                                                $2,000,000 –
                                                                any         one
                                                                premises

                                                                Personal and
                                                                Advertising
                                                                Injury    Limit:
                                                                $2,000,000 –
                                                                any one person
                                                                or organization

                                                                General
                                                                Aggregate
                                                                Limit:
                                                                $10,000,000

                                                                Products-
                                                                Completed
                                                                Operations
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No.   Policy      Policy         Date      Insurer       Coverage             Expiratio   Annual
      Type        Number                                 Allowance            n           Premium



                                                         Limit:
                                                         $2,000,000

3.    Commerc     43-UMO-        01-Mar-   National      Each                 01-Mar-24   C$164,640
      ial         310361-04      23        Liability &   Occurrence
      Umbrella                             Fire          Limit(CAD):
      Liability                            Insuranc      $8,000,000
      Occurren                             e
      ce                                   Compan        General
                                           y             Aggregate
                                                         Limit:
                                                         $8,000,000

                                                         Products-
                                                         Completed
                                                         Operations
                                                         Aggregate
                                                         Limit:
                                                         $8,000,000

4.    Excess      1000399279-    01-Mar-   Liberty       Each                 01-Mar-24   C$171,645
      Liability   04             23        Mutual        Occurrence
      Policy                               Insuranc      (CAD):
                                           e             $15,000,000
                                           Compan
                                           y             Products and
                                                         Completed
                                                         Operations
                                                         Aggregate:
                                                         $15,000,000

                                                         Other
                                                         Aggregate:
                                                         $15,000,000

5.    Directors   02-778-37-62   01-Mar-   AIG           Limit of Liability   01-Mar-24   C$32,800
      and                        23        Insuranc      (CAD):
      Officers                             e
      Liability                            Compan        $10,000,000
                                           y      of     Policy
                                           Canada        Aggregate

                                                         $10,000,000
                                                         Employment
                                                         Practices
                                                         Liability
                                                         (shared limit)

                                                         $10,000,000
                                                         Fiduciary
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No.   Policy       Policy       Date      Insurer     Coverage           Expiratio   Annual
      Type         Number                             Allowance          n           Premium



                                                      Liability
                                                      (shared Limit)

                                                      $1,000,000
                                                      Excell Limit for
                                                      Insured
                                                      Persons

                                                      $25,000 Crisis
                                                      Fund

6.    Marine       OCTOABW7     20-Dec-   Liberty     Limits(USD):       20-Dec-24   US$56,900
      Cargo        KX023        23        Mutual
      (Iron Ore)                          Insuranc    $10,000    any
                                          e           one rail car in
                                          Compan      respect to iron
                                          y & Great   ore only
                                          American
                                          Insuranc    $1,680,000 any
                                          e           one train in
                                          Compan      respect to iron
                                          y           ore

                                                      $2,500,000
                                                      limit in storage
                                                      in mine site,
                                                      prior to loading
                                                      in rail cars

                                                      $2,500,000 any
                                                      and/or location
                                                      and    in   the
                                                      annual
                                                      aggregate for
                                                      earthquake

7.    Railcars     RRP1805-03   10-Mar-   Evanston    Limit         of   10-Mar-24   US$211,50
      and                       23        Insuranc    Liability(USD):                8
      Locomoti                            e
      ve                                  Compan      $20,000,000
      Liability                           y           per occurrence

                                                      $500,000
                                                      additionally
                                                      acquired
                                                      property

                                                      $100,000
                                                      Debris
                                                      Removal,
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No.   Policy   Policy         Date    Insurer   Coverage         Expiratio   Annual
      Type     Number                           Allowance        n           Premium



                                                Rerail    and
                                                Rerouting
                                                Expense

                                                $50,000
                                                Pollutant
                                                Clean-Up and
                                                Removal

                                                $25,000 Rental
                                                Reimbursemen
                                                t Expense
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                                            Schedule “H”
                                           Mineral Tenures
All mining claims, leases and other property rights and Mining Rights of the Company appurtenant to
the Owned Real Property and pursuant to the Real Property Leases described below:

“Real Property Leases”
All of the real property leased, subleased, licensed and/or otherwise used or occupied (whether as
tenant, subtenant, licensee or pursuant to any other occupancy arrangement) (including subsurface
mineral rights) in connection with the operation of the Business as it is now being conducted,
including (without limitation):
    1. Offer to Lease effective March 11, 2021 between 9356-0563 Quebec Inc., as landlord, and
       the Vendor, as tenant, in respect of certain premises on the sixth floor of the building in
       “Solar Uniquartier” with a municipal address of 3400, De L’Éclipse, Brossard, QC (the
       “Brossard Head Lease”).
    2. Offer de Sous-Location dated January 31, 2023 between the Vendor, as sublandlord, and
       12893118 Canada Inc., as subtenant, being a sublease of the Brossard Head Lease.

    3. Commercial Lease dated December 31, 2017 between Northbank Professional Building,
       Inc., as landlord, and the Vendor, as tenant, in respect of certain premises constituting suites
       120, 130, 140, and 260A located at the building with a municipal address of 102-04 3rd Street
       NE, Grand Rapids, MN.

And, for greater certainty, also including all leasehold properties acquired by the Vendor pursuant to
the Wabush Iron Purchase Agreement, including the following:

Lot 1:
    1. Indenture dated May 26, 1956 made by and between the Lieutenant-Governor of the
       Province of Newfoundland in Council, as lessor, and to Newfoundland and Labrador
       Corporation Limited (“NALCO”), as lessee, registered at the Registry of Transfers of the
       Department of Industry, Energy and Technology for the Province of Newfoundland and
       Labrador as item No. 1 in the Minerals Volume entitled “Volume 1-NALCO and Associates”
       as assigned by an indenture dated May 26, 1956 between NALCO, as lessor, and Canadian
       Javelin Limited (“Javelin”), as lessee, registered in the Registry of Deeds for the Province of
       Newfoundland and Labrador at Volume 349 Folio 333-350 and as Item No. 2 in the Minerals
       Volume entitled “Volume 1 -NALCO and Associates” as amended and consolidated by an
       Amendment and Consolidation of Mining Leases dated September 2, 1959 initially made
       between Javelin, as lessor, and Wabush Iron, as lessee, as the same has been amended
       and assigned from time to time, including by Deed of Assignment from Wabush Iron and
       Wabush Resources to the Vendor dated July 18 2017 registered at the Registry of Deeds for
       Newfoundland and Labrador on November 24, 2017 as registration no. 841257, and by
       Amendment and Restatement of Consolidation of Mining Leases among 0778539 B.C. Ltd.,
       as Javelin was then known, and the Vendor, as same as been assigned from 0778539 B.C.
       Ltd., as assignor, to 1128349 B.C. Ltd., as assignee, pursuant to which the Vendor has been
       granted rights to explore and conduct mining operations at the Scully Mine.
Lots 2, 3, 4:
    2. The Crown Lease made by and between the Lieutenant-Governor of the Province of
       Newfoundland in Council, as lessor, and NALCO, as lessee, dated May 15, 1962 and
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         registered in the Registry of Deeds at Volume 578, Folios 001-043, as assigned by an
         indenture dated May 16, 1962, between NALCO, as lessor, and Javelin, as lessee, and
         registered in the Registry of Deeds at Volume 579, Folios 362-392 (the “NALCO-Javelin
         Indenture”), as conveyed by Javelin, as lessor, to Wabush, as lessee, pursuant to an
         indenture dated May 17, 1962, and registered in the Registry of Deeds at Volume 579, Folios
         396-426 (the “Javelin-Wabush Indenture”), as assigned to the Vendor, as lessee, by Deed of
         Assignment from Wabush Iron and Wabush Resources dated July 18 2017 registered at the
         Registry of Deeds for Newfoundland and Labrador on November 24, 2017 as registration no.
         841257, respecting mining rights to areas referred to as Lots 2, 3, and 4, excepting all
         portions of that real property that have been sold, assigned or conveyed by the Vendor or
         their predecessors in title to any third parties in deeds of sale, assignment or conveyance
         registered in the Registry of Deeds for Newfoundland and Labrador, copies of all of which
         have been provided to the Purchaser.
Wabush Mountain:
   3. The Crown Lease made between the Lieutenant-Governor of the Province of Newfoundland
      in Council, as lessor, and NALCO, as lessee, dated May 15, 1962, and registered in the
      Registry of Deeds at Volume 577, Folios 522-543, as assigned by NALCO, as lessor, to
      Javelin, as assignee, pursuant to the NALCO-Javelin Indenture, and registered in the
      Registry of Deeds at Volume 579, Folios 393-395 as conveyed by Javelin, as lessor, to
      Wabush, as lessee, pursuant to the Javelin-Wabush Indenture, and registered in the
      Registry of Deeds at Volume 579, Folios 427-431,as assigned to the Vendor, as lessee, by
      Deed of Assignment from Wabush Iron and Wabush Resources dated July 18 2017
      registered at the Registry of Deeds for Newfoundland and Labrador on November 24, 2017
      as registration no. 841257.
Other:
   4. Indenture made between the Lieutenant-Governor in and for the Province of Newfoundland
      in Council, as lessor, and Knoll Lake, as lessee, dated 12 April 1965, as assigned to Wabush
      Iron and Wabush Resources pursuant to an indenture dated January 1, 1969 between, inter
      alia, Knoll Lake, as assignor, and Wabush Iron, as assignee, and subsequently assigned to
      the Vendor by Deed of Assignment from Wabush Iron and Wabush Resources dated July 18
      2017 and registered at the Registry of Deeds for Newfoundland and Labrador on November
      24, 2017, as registration no. 841250 respecting an area consisting of 8.678 acres of land for
      installing, maintaining and repairing a pumping facility.


   5. Indenture made between the Lieutenant-Governor in and for the Province of Newfoundland
      in Council, as licensor, and NALCO, as licensee, dated 15 May 1962 and registered in the
      Registry of Deeds for Newfoundland and Labrador at Volume 577, Folios 544-563, which
      was assigned from NALCO to Javelin on May 16, 1962, registered in the Registry of Deeds
      at Volume 579 Folios 393-395 and further assigned to Wabush Iron and Wabush
      Resources from Javelin on May 17, 1962 registered in the Registry of Deeds in Volume 579,
      Folios 427-431, and subsequently assigned to the Vendor by Deed of Assignment from
      Wabush Iron and Wabush Resources dated July 18 2017 and registered at the Registry of
      Deeds for Newfoundland and Labrador as registration no. 841250, respecting the deposit
      and recovery of tailings in Flora Lake.
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6. Indenture dated January 14, 1983, between Wabush Iron, Stelco Inc., Dofasco Inc. and the
   Newfoundland and Labrador Ministry of Transportation for proposed Route 530, registered in
   the Registry of Deeds for Newfoundland and Labrador at Volume 3732, pages 250-257 and
   Roll 95, Frame 2376, as assigned to the Vendor by Deed of Assignment from Wabush Iron
   and Wabush Resources dated July 18 2017 and registered at the Registry of Deeds for
   Newfoundland and Labrador as registration no. 841250.
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                                            Schedule “I”
                                         Owned Real Property
All real property interests owned by the Company, including those acquired pursuant to an Asset
Purchase Agreement (the “Wabush Iron Purchase Agreement”) among Wabush Iron Co. Limited
(“Wabush Iron”), Wabush Resources Inc. (“Wabush Resources”), and Wabush Lake Railway
Company Limited (“Wabush Lake”) (collectively as vendors pursuant thereto) and Tacora Resources
Inc. (as purchaser pursuant thereto) and Magglobal LLC (as Parent), including the following:

   •    1.      The Crown Grant of surface and mining rights made by the Lieutenant Governor in
        Council to NALCO, dated May 26, 1956 and registered in the Registry of Transfers as Item
        No. 3 in the Land Titles (Concessions) Volume entitled “Volume 1 – NALCO and Associates”,
        as assigned by NALCO, as assignor, to Javelin, as assignee, dated May 26, 1956, and
        registered in the Registry of Deeds for Newfoundland at Volume 349, Folios 351-365, as
        amended by agreement from the Lieutenant Governor in Council in favour of Javelin dated
        June 28, 1957, registered in the Registry of Deeds for Newfoundland and Labrador at Volume
        389, Folios 465 to 479, as assigned from Javelin to Wabush Iron Co. Limited and Wabush
        Resources Inc. in an Amendment and Consolidation of Mining leases dated September 2,
        1959 and subsequently assigned to the Company by Deed of Assignment from Wabush Iron
        and Wabush Resources dated July 18 2017 and registered at the Registry of Deeds for
        Newfoundland and Labrador as registration no. 841250, respecting the surface rights to areas
        referred to as Lots 2, 3, and 4, excepting all portions of that real property that have been sold,
        assigned or conveyed by the Company or their predecessors in title to any third parties in
        deeds of sale, assignment or conveyance registered in the Registry of Deeds for
        Newfoundland and Labrador, copies of all of which have been provided to the Investors.

   •    All right, title and interest of the Company in the Jean River (Railway) Bridge acquired pursuant
        to indentures of conveyance from Wabush Resources, Wabush Iron and Wabush Lake dated
        July 18, 2017 registered in the Registry of Deeds for Newfoundland and Labrador as
        registration nos. 841249 and 841247, including that parcel of land referred to as “Parcel 14-2”
        in the Indenture made as of February 23, 2018 between Quebec Iron Ore Inc. and the
        Company, registered in the Registry of Deeds as registration number 852093.

   •    All buildings, infrastructure, fixtures and other immovable assets, if any, located on the on the
        property set out at item 1 above, or any properties described in the Real Property Leases.

   •    All real property described in the indenture dated 31 October 1961 between Wabush Iron and
        Wabush Lake and registered in the Registry of Deeds for Newfoundland and Labrador at
        Volume 559, Folios 383 to 389, as conveyed to the Company by indenture of conveyance
        dated July 18 2017 registered in the Registry of Deeds for Newfoundland and Labrador as
        registration no. 841247, excepting all portions of that real property that have been sold,
        assigned by conveyed by the Company or its predecessors to any third parties in deeds of
        sale, assignment or conveyance registered in the Registry of Deeds for Newfoundland and
        Labrador, copies of all of which have been provided to the Investors.

   •    All real property described in the indenture dated 30 September 1981 made between
        Newfoundland and Labrador Housing Corporation, as vendor, and Wabush Lake, as
        purchaser, registered in the Registry of Deeds for Newfoundland and Labrador at Roll 8858,
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 Frame 664, as conveyed to the Company by indenture of conveyance dated July 18 2017
 registered in the Registry of Deeds for Newfoundland and Labrador as registration no. 841247.
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                                       Schedule “J”
                                    Permits and Licenses

•    Nuclear Substance and Radiation Device License No. 17061-1-25.2 dated September 23,
     2021, issued by the Canadian Nuclear Safety Commission to the Company

•    Certificate of Approval dated March 27, 2023, issued by the Government of Newfoundland and
     Labrador for the operation of an iron ore mine and mill at Wabush, including: pit dewatering;
     processing ore to concentrate; and disposal of tailings at Flora Lake. (Approval No. AA23-
     035696)

•    Certificate of Approval dated March 27, 2023, issued by the Government of Newfoundland and
     Labrador (Department of Municipal Affairs and Environment) to the Company for the operation
     of an iron ore mine and mill at Wabush (Approval No. AA23-035696) and all related permits
     and licences

•    Certificate of Approval dated March 27, 2023, issued by the Government of Newfoundland and
     Labrador (Department of Environment and Climate Change) to the Company for the operation
     of an iron ore mine and mill at Wabush (Approval No. AA23-035696) and all related permits
     and licences

•    Certificate of Approval dated November 30, 2023, issued by the Government of Newfoundland
     and Labrador (Department of Digital Government and Service NL) to the Company for the
     continued maintenance and operation of a waste management system (Approval No. LB-
     WMS23-01023N)

•    Mill License No. ML-TRI-02 dated November 22, 2023, issued by the Government of
     Newfoundland and Labrador (Department of Natural Resources) to the Company (for the
     processing of 18 million tonnes of ore per year; issued November 22, 2023 and valid for 5
     years)

•    Water Use License – Industrial (General Purpose) – No. WUL-21-12126 dated October 1,
     2021, issued by the Government of Newfoundland and Labrador (Department of Environment
     and Climate Change Water Resources Management Division) to the Company to withdraw
     water from a groundwater well within the Town of Wabush

•    Water Use License – Industrial (Mining) – No. WUL-23-12921 dated January 18, 2023, issued
     by the Government of Newfoundland and Labrador (Department of Environment and Climate
     Change Water Resources Management Division) to the Company to withdraw and use water
     from Little Wabush Lake

•    Water Use License – Industrial (Mining) – No. WUL-23-12922 dated January 18, 2023, issued
     by the Government of Newfoundland and Labrador (Department of Environment and Climate
     Change Water Resources Management Division) to the Company for the dewatering of certain
     pits

•    Written confirmation from the Minister of Environment and Climate Change, Newfoundland
     and Labrador that the Scully Mine Tailings Impoundment Area Expansion Project is released
     from further provincial environmental assessment requirements and that the Company may
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 proceed with the Project pursuant to section 56 of the Newfoundland Environmental Protection
 Act, SNL 2002 c.E-14.2
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                                         Schedule “K”
                                    Permitted Encumbrances

•    Reservations, limitations, proviso and conditions, if any, expressed in any original grant from
     the Crown provided that they do not materially adversely affect value, use or exploration or
     exploitation rights

•    Title defects or irregularities which are of minor nature, encroachments, easements, rights-of-
     way, rights to use, servitudes or similar interests provided that same does not materially
     adversely affect value, use or exploration or exploitation rights

•    Rights-of-way for or reservations or rights of others for, sewers, drains, water lines, gas lines,
     electric lines, railways, telegraph, telecommunications and telephone lines, or cable conduits,
     poles, wires and cables, and other similar utilities, or zoning by-laws, ordinances or other
     restrictions as to the use of the Company’s real property, that arise in the ordinary course of
     business and which do not individually or in the aggregate materially adversely affect value,
     use or exploration or exploitation rights

•    The Mineral Tenures

•    Encumbrances permitted in writing by the Investors

•    Encumbrances in respect of any Retained Contracts
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                                        Schedule “L”
                                 Pre-Filing Trade Amounts

•    Substantially all Pre-Filing Trade Amounts on terms and amounts to be agreed by the
     Company and the Investors
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                                     Schedule “M”
                                   Retained Contracts

•    Mine Rehabilitation and Closure Performance Bond between the Company and Intact
     Insurance Company dated March 14, 2019

•    Impact and Benefit Agreement between the Company and Innu Nation Inc. dated March 21,
     2018

•    Agreement between the Company and Her Majesty of Newfoundland and Labrador, as
     represented by the Minister of Natural Resources, dated April 14, 2019

•    Agreement between the Company and Town Council of the Town of Wabush, on behalf of the
     Town of Wabush, dated January 1, 2023

•    Limited Liability Company Agreement between the Company and Tacora Resources LLC
     dated July 20, 2017

•    Commercial Lease between the Company and Northbank Professional Building, Inc. dated
     December 31, 2017

•    Direct Debit Agreements between the Company and Sandvik Canada, Inc. dated August 19,
     2022

•    Direct Debit Agreement between the Company and Sandvik Canada, Inc. dated October 7,
     2022

•    Extension Agreements between the Company and Komatsu Financial dated March 29, 2023

•    All Security Agreements – Conditional Sales Contracts among the Vendor and Equipement
     SMS Inc., as assigned to Komatsu International (Canada) Inc. dba Komatsu Financial,
     including:

     o   Security Agreements – Conditional Sales Contracts between the Company and Komatsu
         Financial dated May 21, 2019

     o   Security Agreements – Conditional Sales Contracts between the Company and Komatsu
         Financial dated May 28, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated May 31, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated May 26, 2021

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated June 24, 2019
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     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated July 5, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated July 15, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated August 30, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated August 6, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated September 6, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated June 14, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated May 10, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated January 22, 2020

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated September 2, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated September 24, 2021

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated May 14, 2019

     o   Security Agreement – Conditional Sales Contract between the Company and Komatsu
         Financial dated May 10, 2019

•    Security Agreement – Conditional Sales Contract between the Company and Komatsu
     Financial dated August 6, 2021

•    Security Agreement – Conditional Sales Contract between the Company and Komatsu
     Financial dated July 6, 2022

•    Security Agreement – Conditional Sales Contract between the Company and Komatsu
     Financial dated June 1, 2021

•    Security Agreement – Conditional Sales Contract between the Company and Komatsu
     Financial dated May 26, 2021
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•    Security Agreement – Conditional Sales Contract between the Company and Komatsu
     Financial dated April 15, 2021

•    Security Agreements – Conditional Sales Contracts between the Company and Komatsu
     Financial dated July 7, 2022

•    Lease Contract between the Company and Caterpillar Financial Services Limited dated
     August 31, 2022

•    Lease Contracts between the Company and Caterpillar Financial Services Limited dated April
     25, 2019

•    Lease Contracts between the Company and Caterpillar Financial Services Limited dated July
     15, 2019

•    Lease Contract between the Company and Caterpillar Financial Services Limited dated
     December 18, 2019

•    Master Equipment Lease Agreement between the Company and Sandvik Canada, Inc. dated
     August 18, 2022

•    Amended and Restated Master Lease Agreement between the Company and Caterpillar
     Financial Services Limited dated August 3, 2022

•    Equipment Purchase Offer, Order, and Sale Agreement between the Company and SMS
     Equipment Inc. dated June 21, 2022

•    Specific Security Agreement made by the Company in favour of Caterpillar Financial Services
     Limited dated April 15, 2019

•    Lease Agreement between the Company and JSM Properties Inc. dated December 5, 2023

•    Operational Agreement between the Company and Société Ferroviaire et Portuaire de Pointe-
     Noire, S.E.C. dated December 24, 2022

•    Joinder Agreement between the Company, Société Ferroviaire et Portuaire de Pointe-Noire,
     S.E.C., Société du Plan Nord, Quebec Iron Ore Inc. and Tata Steel Minerals Canada Limited
     dated February 5, 2019

•    Contract between the Company and Set-îles Port Authority

•    Contract (for users of the Port’s multi-user berth) dated July 13, 2012 between Sept-Iles Port
     Authority and New Millennium Iron Corp. (now operating as Abaxx Technologies Inc.), as since
     assigned to the Company by the Assignment of Contractual Rights dated April 19, 2018
     between New Millennium Iron Corp. (now operating as Abaxx Technologies Inc.) and the
     Company, as amended by the Amending Agreement dated August 24, 2018
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•    Agreement between the Company, Set-îles Port Authority and New Millenium Iron Corp. (now
     operating at Abaxx Technologies Inc.) dated April 19, 2018

•    Locomotive Rental Agreement between the Company and Quebec North Shore & Labrador
     Railway Company Inc. dated November 8, 2017

•    Confidential Transportation Contract between the Company and Quebec North Shore &
     Labrador Railway Company Inc. dated November 3, 2017 subject to Section 5.3(d) of the
     Agreement

•    Agreement to Amend the Confidential Transportation Contract between the Company and
     Quebec North Shore & Labrador Railway Company Inc. dated February 13, 2019

•    Second Agreement to Amend the Confidential Transportation Contract between the Company
     and Quebec North Shore & Labrador Railway Company Inc. dated May 20, 2019

•    Third Agreement to Amend the Confidential Transportation Contract and the Locomotive
     Rental Agreement between the Company and Quebec North Shore & Labrador Railway
     Company Inc. dated July 1, 2019

•    Fourth Agreement to Amend the Confidential Transportation Contract between the Company
     and Quebec North Shore & Labrador Railway Company Inc. dated April 24, 2020

•    Sixth Agreement to Amend the Confidential Transportation Contract between the Company
     and Quebec North Shore & Labrador Railway Company Inc. dated November 30, 2021

•    Seventh Agreement to Amend the Confidential Transportation Contract between the Company
     and Quebec North Shore & Labrador Railway Company Inc.

•    Eighth Agreement to Amend the Confidential Transportation Agreement between the
     Company and Quebec North Shore & Labrador Railway Company Inc. dated January 9, 2023

•    Contract Pertaining to the Purchase of Assets between the Company and Société Ferroviaire
     et Portuaire de Pointe-Noire S.E.C. dated June 1, 2018

•    Indenture between the Company and Quebec Iron Ore Inc. dated February 23, 2018 in respect
     of their co-ownership of certain railway lands benefitting the Scully Mine and the Bloom Lake
     Mine, as registered in the Registry on March 1, 2018 as Registration Number 852093

•    Amended and Restated Agreement for Right-of-Way and Easement between the Company
     and Quebec Iron Ore Inc. dated February 23, 2018

•    Amendment and Restatement of Consolidation of Mining Leases between the Company and
     0778539 B.C. Ltd. dated November 17, 2017

•    Settlement Agreement between the Company and Construction & Expertise PG Inc. dated
     October 7, 2023
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•    Agreement for Consulting Services between the Company and Partners in Performance dated
     March 2, 2023

•    Offer for the Supply of Explosives Products and Services between the Company and Orica
     Canada Inc. dated March 30, 2023

•    Lease Order Agreement between the Company and Xerox Canada Ltd. dated May 30, 2019

•    Services Agreement between the Company and Ascencia Group dated July 15, 2022

•    Consulting Agreement between the Company and Kelly Rivers dated October 17, 2022

•    Service Agreement between the Company and Newfoundland and Labrador Hydro dated May
     16, 2018

•    Petroleum Products Supply Agreement between the Company and Harnois Energies

•    Railroad Operation and Maintenance Services Agreement between the Company and
     Western Labrador Rail Services Inc. dated March 12, 2019

•    Bunker Resale Agreement between the Company, Iron Ore Company of Canada and Quebec
     North Shore & Labrador Railway Company Inc. dated May 20, 2019

•    First Amendment to the Bunker Resale Agreement between the Company, Iron Ore Company
     of Canada and Quebec North Shore & Labrador Railway Company Inc. dated August 17, 2019

•    Second Amendment to the Bunker Resale Agreement between the Company, Iron Ore
     Company of Canada and Quebec North Shore & Labrador Railway Company Inc. dated June
     16, 2020

•    Third Amendment to the Bunker Resale Agreement between the Company, Iron Ore Company
     of Canada and Quebec North Shore & Labrador Railway Company Inc. dated June 16, 2021

•    Fourth Amendment to the Bunker Resale Agreement between the Company, Iron Ore
     Company of Canada and Quebec North Shore & Labrador Railway Company Inc. dated July
     6, 2023

•    Planned Maintenance Service Agreement between the Company and Maritime Pressure
     Works Ltd. dated February 18, 2023

•    Staged Labor Agreement between the Company and Wabush SMS dated February 6, 2023

•    Agreement between the company and United Steel, Paper and Forestry, Rubber,
     Manufacturing, Energy, Allied Industrial and Service Workers International Union (United Steel
     Workers) dated December 2022

•    Settlement Agreement among the Company, MagGlobal LLC, and 0778539 B.C. LTD.
     (formerly, MFC BANCORP LTD) dated October 30, 2017
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•    Vendor Deposit Letter between the Company and SMS Equipment Inc. dated October 12,
     2023

•    Vendor Deposit Letter between the Company and Sikumiut Environmental Management Ltd.
     dated October 13, 2023

•    Vendor Deposit Letter between the Company and Industrial Rubber Labrador dated October
     16, 2023

•    Vendor Deposit Letter between the Company and Modern Pumps & Metals Inc. dated October
     16, 2023

•    Vendor Deposit Letter between the Company and Graybar Canada dated October 19, 2023

•    Vendor Deposit Letter between the Company and Industrial Sales Ltd. dated October 19, 2023

•    Vendor Deposit Letter between the Company and North Star Associates Inc. dated October
     19, 2023

•    Vendor Deposit Letter between the Company and Pneus Ratté (Pneus Colosse) dated
     October 20, 2023

•    Vendor Deposit Letter between the Company and Toromont Cat dated October 23, 2023

•    Vendor Deposit Letter between the Company and Labrador Rewinding dated October 24, 2023

•    Vendor Deposit Letter between the Company and Source Atlantic Limited dated October 24,
     2023

•    Vendor Deposit Letter between the Company and Air Liquide Canada Inc. dated October 27,
     2023

•    Vendor Deposit Letter between the Company and BBA Hagerty Penashue Limited Partnership
     dated October 27, 2023

•    Vendor Deposit Letter between the Company and Nuera Industrial Inc. dated October 27, 2023

•    Vendor Deposit Letter between the Company and JECANAKA INVESTMENTS INC. O/A
     Canadian Tire Labrador City #901 dated October 30, 2023

•    Vendor Deposit Letter between the Company and TransferEase Relocation Inc. dated October
     31, 2023

•    Vendor Deposit Letter between the Company and Centre de Mecanique du Golfe Inc. dated
     November 2, 2023
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•    Vendor Deposit Letter between the Company and Manitoulin Transport Inc. dated November
     3, 2023

•    Vendor Deposit Letter between the Company and JSM Electrical Ltd. dated November 6, 2023

•    Vendor Deposit Letter between the Company and Wajax Limited dated November 6, 2023

•    Vendor Deposit Letter between the Company and Rogers Electric & Machine dated November
     7, 2023

•    Vendor Deposit Letter between the Company and Energy Lock Inc. dated November 8, 2023

•    Vendor Deposit Letter between the Company and GFL Environmental Services Inc. dated
     November 10, 2023

•    Vendor Deposit Letter between the Company and Les Services JAG Inc. dated November 13,
     2023

•    Vendor Deposit Letter between the Company and Tyco Integrated Fire & Security O/A
     Johnson Controls dated November 16, 2023

•    Vendor Deposit Letter between the Company and FCowen Engineering Inc. dated November
     21, 2023

•    Vendor Deposit Letter between the Company and Metalium Inc. dated November 22, 2023

•    Vendor Deposit Letter between the Company and The Fluid Life Corporation dated November
     27, 2023

•    Vendor Deposit Letter between the Company and Bureau Veritas dated November 29, 2023

•    Vendor Deposit Letter between the Company and Stagg & Templeman dated November 29,
     2023

•    Vendor Deposit Letter between the Company and Pumpaction Inc. dated January 12, 2024

•    Letter Agreement between the Company, Tacora Norway AS and OMF Fund II H Ltd. dated
     February 15, 2023

•    Voya 401k Retirement Plan for Tacora Resources employees

•    Lincoln Life and Accidental Death and Dismemberment Insurance for Tacora Resources
     employees

•    Lincoln Short-Term Disability Insurance for Tacora Resources employees

•    Lincoln Long-Term Disability Insurance for Tacora Resources employees
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   •    Delta Dental Plan for Tacora Resources employees

   •    Tacora Staff Overtime Policy dated January 1, 2022

   •    Tacora Staff Vacation Policy dated January 1, 2023

   •    2023 Safe Quality Tonnes Bonus

   •    Lumino Health Virtual Care Employee Assistance Program, powered by Dialogue

   •    Relocation Assistance Policy for Tacora Resources

   •    Group Benefits Plan for management and office employees of Tacora Resources Inc. provided
        by Sun Life Financial effective March 1, 2023 (contract no. 184598)

   •    Group Benefits Plan for hourly employees of Tacora Resources Inc. provided by Sun Life
        Financial effective March 1, 2023 (contract no. 184598)

   •    2023 Allowances (travel allowance, northern living allowance, hydro allowance, housing/rental
        allowance, healthy living allowance, safety clothing allowance)

   •    Blue Cross and Blue Shield of Minnesota Group Health Care Coverage Contract with Tacora
        Resources

   •    Blue Cross and Blue Shield of Minnesota Group Vision Care Coverage Contract with Tacora
        Resources

   •    Group Retirement Savings Plan of Tacora Resources Inc. (contract no. G700058) with
        Desjardins Financial Security Life Assurance Company

   •    Supplemental Unemployment Benefit Top-Up Program for apprentices actively attending
        approved block training pursuant to Section 8:10 of the Collective Bargaining Agreement dated
        January 11, 2023
and in each case including all amendments, restatements, addendums, modifications, work orders,
revisions, statements of work and other documentation or supplements issued thereunder
